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 revocation of any liquor or similar license maintained by the Hotel Unit Owner or the Hotel
 Operator, or which would result in any fines, penalties or other sanctions thereunder. Each Suite
 Unit Owner, Club Unit Owner and the Retail Unit Owner shall indemnify, defend and hold the
 Hotel Unit Owner and the Hotel Operator harmless from and against any liability, loss, cost, or
 expense arising from any violation of the foregoing provisions of this subsection 8.3(c), and from
 and against any and all loss, cost, expense (including, but not limited to, attorneys' fees and
 disbursements), damage, injury or liability, whether direct, indirect or consequential, resulting
 from, arising out of, or in any way connected therewith.

                       (d)    Notwithstanding anything in this Section 8.3 to the contrary, the
foregoing shall not in any way be construed to impair or prevent the right or ability of the Hotel
Unit Owner and/or its designee(s) to operate a full-service hotel (with ancillary uses) in any
portion of the Property.

                                            ARTICLE9

                                 CHANGES IN UNSOLD UNITS

                   9 .I  Except to the extent prohibited by, or to the extent that the same will cause
   the Property or any portion thereof not to comply with, any Laws, or as herein or in the
   Condominium By-Laws provided, Fee Owner, in each case (to the extent it then hold any
   ownership rights in the applicable portion(s) of the Property), and: (i) the Suite Sponsor or any
   other owner of an Unsold Suite Unit, with respect to any Unsold Suite Unit; or (ii) the Club
   Sponsor or any other owner of an Unsold Club Unit, with respect to an Unsold Club Unit, shall
   have the right, without the vote or consent of the Condominium Board or any other Unit
  Owners or Person(s) except as otherwise provided below to: (a) make alterations, additions,
  improvements, replacements and/or repairs whether structural or non-structural, interior or
  exterior, ordinary or extraordinary, in, to and upon its Unsold Units, (subject, however, to the
  Hotel Unit Owner's consent if the same would interfere with the operation of a hotel at the
  Property); (b) change the use or layout of, or number of rooms in, any Unsold Units from time
  to time; (c) change the size and/or number of Unsold Units by subdividing one or more Unsold
· Units into two or more separate Unsold Units, combining separate Unsold Units (including
  those resulting from such subdivision or otherwise) into one or more Unsold Units, converting
  an Unsold Unit or any portion thereof to a Common Element, altering the boundary walls
  between any Unsold Units, or otherwise, including incorporating Conunon Elements (such as a
 portion of a hallway used exclusively by the occupant(s) of such Unsold Unit) which
 exclusively benefit an Unsold Unit into such Unsold Unit; (d) designate an Unsold Unit as part
 of a newly created or expanded Unsold Unit, Common Element, Conunercial Unit, Commercial
 Limited Common Element or General Common Element or designate all or part of an Unsold
 Unit as a newly created or expanded Commercial Unit or Common Element; and (e) if
 appropriate, reapportion among the Units affected by such change in size, use or number
 pursuant to the preceding clauses (b), (c) and (d) their percentage interests in the Common
 Elements; provided, however, that (i) such changes are in compliance with Section 339 of the
 New York Condominium Act; (ii) the Common Interest of any other Units (other than Unsold
 Units or other Units owned by such Person) shall not be changed by reason thereof unless the
 owner(s) of such other Unit(s) shall consent thereto; and (iii) Fee Owner, the Suite Sponsor, the
 Club Sponsor, or such other owner of an Unsold Unit, as the case may be, shall comply with all

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  Laws and shall agree to defend and hold the Condominium Board and all other Unit Owners
  harmless from any liability arising therefrom. By written permission of the Condominium
  Board, which permission, may be granted or withheld for any reason in the Condominium
  Board's sole discretion, any other Unit Owner may be given, with respect to its Unit, the same
  rights and be subject to the same limitations and conditions as are set forth in this Article 9 with
  respect to Unsold Units, including, without limitation, the right to combine, subdivide and/or          . •'
  otherwise reconfigure two or more adjacent Units owned by such Unit Owner. Notwithstanding
  the other provisions ofthis Article 9, no reapportionment of the Common Interest appurtenant
 to any Unit shall be made unless there is first delivered to the Condominium Board a written
 certification stating that the Common Interests of the respective Units immediately after such
 reapportionment will be based upon the Apportionment Factors (as defined in Article 12
 below). The certification referred to in the immediately preceding sentence shall be delivered,
 at the election of Fee Owner, the Suite Sponsor, the Club Sponsor, or such other owner of an
 Unsold Unit, as the case may.be, by such party or by the managing agent of the Condominium
 (the "Managing Agent") or any other Person reasonably acceptable to the Condominium Board,
 in the case of any Unsold Unit, and by either the Managing Agent or any other Person
 reasonably acceptable to the Condominium Board, in the case of any other Unit. Fee Owner,                 .
 the Suite Sponsor, the Club Sponsor, or such other owner of an Unsold Unit, as the case may be,
 will have the right, without the consent of any other Unit Owner or the Condominium Board to
 amend the Declaration, the Condominium By-Laws and ·the Floor Plans to reflect the foregoing
 changes. The provisions of this Article 9 may not be added to, amended, modified or deleted
 without the prior written consent of Fee Owner, the Suite Sponsor, the Club Sponsor or the
 owner of any Unsold Unit(s), as the case may be, or the designee of any of the foregoing:
 Notwithstanding the foregoing provisions ofthis Section 9.1, no such Alteration, Repair, change
 or designation resulting in the creation of any new or changed Commercial Unit or Common
 Element, or which would affect any existing Common Element or the Hotel Unit, shall be
 permitted without the consent of the Hotel Unit Owner.

                 9.2 As used herein and in the Condominium By-Laws: (a) "Unsold Suite
 Unit" refers to any Suite Unit owned or retained, by way of lease or any other arrangement by
 which management and/or financial responsibility is retained, by Fee Owner, the Suite Sponsor
 or any of their respective affiliates or designees as the holder of one or more Unsold Suite
 Unit(s); any Suite Unit that is acquired, individually or collectively, by a principal of Fee
 Owner, the Suite Sponsor or a group of which Fee Owner, the Hotel Unit Owner or the Suite
 Sponsor or one or more of the principals of either is a member; or a Suite Unit that is acquired,
 individually or collectively, by either the holder of a Permitted Mortgage given by Fee Owner,
 the Suite Sponsor or the designee of a holder of such a Permitted Mortgage; and (b) "Unsold
 Club Unit" refers to any Club Unit owned or retained, by way of lease or any other arrangement
 by which management and/or financial responsibility is retained, by Fee Owner, the Club
 Sponsor or any of their respective affiliates or designees as the holder of one or more Unsold

        Wherever the consent, approval or satisfaction of Fee Owner (as owner of an Unsold
Unit, but not as the Hotel Unit Owner or Hotel Operator), the Suite Sponsor, the Club Sponsor or
the owner of any Unsold Unit(s), or any oftheir respective designees is required under this
Declaration or the Condominium By-Laws, such consent, approval or satisfaction shall not be
required when such party no longer owns any Unsold Units.
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     Club Unit(s); any Club Unit that is acquired, individually or coJlectively, by a principal of Fee
     Owner, the Club Sponsor or a group of which Fee Owner or the Club Sponsor or one or more of
     the principals of either is a member; or a Club Unit that is acquired, individually or coJlectively,
     by either the holder of a Permitted Mortgage given by Fee Owner, the Club Sponsor or the
     designee of a holder of such a Permitted Mortgage. The Unsold Suite Units and the Unsold
     Club Units are collectively referred to herein and in the Condominium By-Laws as the
     "Unsold Units". As used in the foregoing provisions of this Section 9.2 with respect to the
     Unsold Units, the tenn "Fee Owner," or similar term, as used in this Declaration and in
     Condominium By-Laws, shall also mean any affiliate•• of Fee Owner.

                     9.3 Each of Fee Owner, the Hotel Unit Owner, the Suite Sponsor and the Club
     Sponsor (in each case, to the extent it owns or acquires the applicable rights in such portion of
     the Property) shall have the right to create additional Suite Units and Club Units, in each case
     by subdividing a portion of the Hotel Unit and designating in an amendment to this Declaration
     and the Floor Plans in connection therewith a newly constHuted Unit as a Suite Unit or Club
     Unit, as the case may be, or by redesignating a previously subdivided or combined Suite Unit or
     Club Unit as a Club Unit or Suite Unit, respectively, as the case may be.

                                              ARTICLE 10

                      CHANGES BY THE COMMERCIAL UNIT OWNERS

                  10.1 Except to the extent prohibited by, or to the extent that the same will cause
  the Property or any portion thereof not to comply with, any Laws or as otherwise herein or in
  the Condominium By-Laws provided, each Commercial Unit Owner shall have the right with
  respect to its Unit, without the vote or consent of the Condominiwn Board or any other Unit
  Owners or Person(s), to: (a) make Alterations and/or Repairs in, to and upon its Commercial
 Unit (and any Limited Common Elements appurtenant thereto), provided, however, that such
 Commercial Unit Owner, if other than Fee Owner, the Hotel Unit Owner or its designee, must
 obtain the prior consent of the Condominium Board, to any Alterations and/or Repairs which
 would materially adversely affect the structural, mechanical, electrical or plwnbing elements of
 the Building to the extent the same are part of the General Common Elements or which would
 affect the exterior appearance of the Building or interfere with the operation of a hotel in the
 Hotel Unit and further provided, without limiting Section 8.2 hereof, that any alterations to the
 Retail Unit shall be subject to the prior consent of the Hotel Unit Owner (not to be unreasonably
 withheld); (b) change the use (subject to Section 8.2 hereof) or layout of, or number of rooms
 in, any Commercial Unit from time to time; (c) change the size and/or nwnber of Commercial
 Units by subdividing one or more Commercial Units into two or more separate Units,
 combining separate Commercial Units (including those resulting from such subdivision or

••      As used in this Declaration and the Condominium By-Laws, an affiliate of Fee Owner,
the Hotel Unit Owner, the Hotel Operator, the Suite Sponsor and the Club Sponsor shall be
deemed to be a Person or entity who or which (i) owns directly or indirectly 25% or more of the
legal or beneficial interest of such party, (ii) an entity with respect to which such party owns
directly or indirectly 25% or more of the legal or beneficial interest, or (iii) an entity under
common control with such party.


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  otherwise) into one or more newly constituted Commercial Unit(s) or any portion thereof to a
 Commercial Limited Common Element, a Unit with a different designation, altering the
 boundary walls between any Commercial Units, or otherwise, including incorporating Common
 Elements (such as a portion of a hallway used exclusively by the occupant(s) of such
 Commercial Unit) which exclusively benefit a Commercial Unit into such Unit; and {d) if
 appropriate, reapportion among the Commercial Units affected by such change in size, use or
 number pursuant to the preceding clauses (b) and (c) their percentage interests in the Common
 Elements; provided, however, that (i) such changes are in compliance with Section 339 of the
 New York Condominium Act; (ii) the Common Interest of any other Units (other than the
 Commercial Unit(s) owned by such Person) shall not be changed by reason thereof unless the
 owners of such other Units shall consent thereto; and (iii) the applicable Commercial Unit
 Owner shall comply with all Laws and shall agree to defend and hold the Condominium Board
 and all other Unit Owners harmless from any liability arising therefrom. Notwithstanding the
 other provisions ofthis Article 10, no reapportionment ofthe interests in the Common Elements
 appurtenant to any Commercial shall be made unless there is first delivered to the
 Condominium Board a written certification stating that the percentage interests of the respective
 Units in the Common Elements, immediately after such reapportionment, will be based upon
floor space, subject to the location of such space and the additional factors of relative value to
other space in the Condominium, the uniqueness of the Unit, the availability of Common
Elements for exclusive or shared use and the overall dimensions of the particular Unit. The
certification referred to in the preceding sentence shall be delivered: (i) at Fee Owner's
election, by Fee Owner or the Managing Agent or any other Person reasonably acceptable to the        ·..
Condominium Board, (ii) at the Commercial Unit Owner's election, by the Commercial Unit
Owner or the managing agent of the Hotel Unit or any other Person reasonably acceptable to the
Commercial Unit Owner, and (iii) by either the managing agent of the Condominium, or any
other Person reasonably acceptable to the Condominium Board. Notwithstanding the foregoing
provisions of this Section 10.1, no such Alteration, Repair, change or designation resulting in
the creation of any new or changed Commercial Unit or Common Element, or which would
affect any existing Common Element or the Hotel Unit, shall be permitted without the consent
ofthe Hotel Unit Owner.

                10.2 Each Commercial Unit Owner shall each have the right with regard to its
Unit to amend the Declaration in order to reflect changes as set forth above in paragraph 10.1,
or to cause the Condominium Board to do so. Such right shall include, without limitation, in the
case ofthe Hotel Unit Owner, the right to designate any subdivided portion of its Unit as a Suite
Unit or Club Unit. If any of the Commercial Units are subdivided or combined, the owner of
each Unit resulting from a subdivision or combination will generally have all ofthe rights
(without the consent ofthe Condominium Board or other Unit Owners (other than any consent
provided in the Condominium Documents to be provided by the Hotel Unit Owner)) set forth
above in paragraph 10.1, described as pertaining to the Unit Owner ofthe original Commercial
Unit or Units in question (except to the extent such Unit is specifically designated as a Suite
Unit or Club Unit in which case the terms and conditions of the Declaration and Condominium
By-Laws with respect to such type(s) of Unit shall apply thereto). The provisions of this Article
10 may not be added to, amended, modified or deleted without the prior written consent of each         ·-·.
affected Commercial Unit Owner.
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                                           ARTICLE 11

                               PERSON TO RECEIVE SERVICE

                 The Secretary of State ofthe State ofNew York (the "Secretary of State") is
 hereby designated to receive service of process in any action which may be brought against the
 Condominium or the Condominium Board. The Condominium and the Condominium Board
 shall each notify the Secretary of State of the address to which a copy of any process received
 should be mailed.

                                          ARTICLE 12

                           DETERMINATION OF PERCENTAGE
                           INTERESTS IN COMMON ELEMENTS

                 The Common Interest of each Unit has been determined, pursuant to
Section 339-i(l)(iv) of the Condominium Act. In accordance with such method of calculation,
the Common Interests have been determined based primarily upon a comparison of the floor
areas of the Units, subject to the location of such space and the additional factors of relative
va1ue to other space in the Condominium, the uniqueness of the Unit, the availability of the
Common Elements for exclusive or shared use and the overall dimensions of the particular Unit
(collectively, the "Apportionment Factors"). The aggregate Common Interests of all ofthe Units
equals I 00%.

                                          ARTICLE 13

                                     ENCROACHMENTS

                If (a) any portion of the Common Elements encroaches upon any Unit or upon
any other Common Element, (b) any Unit encroaches upon any other Unit or upon any portion of
the Common Elements, or (c) any encroachment shall hereafter occur as a result of (i) settling or
shifting of the Building, (ii) any Alteration or Repair made to the Common Elements, or (iii) any
Alteration or Repair ofthe Building (or any portion thereof) or of any Unit or Common Element
after damage by fire or other casualty or any taking by condemnation or eminent domain
proceedings of all or any portion of any Unit or the Common Elements, then, in any such event,
a valid easement shall exist for such encroachment and for the maintenance of the same as long
as the Building shall stand (or during any period in which it is being rebuilt or restored, in
accordance with the Condominium By-Laws, following any such fire or other casualty, taking or
eminent domain proceeding); provided that in the case of any such encroachment described in
subparagraph (c)(ii) or (c)(iii) above, such Alteration, Repair or rebuilding was performed in
accordance with the terms ofthe Condominium Documents (including, without limitation, any
provisions thereof with respect to required consents and approvals) and such encroachment does
not unreasonably interfere with the use of any of the Units for their permitted purposes and/or the
use of the Common Elements for their intended purposes.




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                                                   ARTICLE 14

                          FACILITIES AND ALL OTHER COMMON ELEMENTS

                    Except as may otherwise be expressly set forth herein or in the Condominium By-
     Laws, each Unit Owner shall have, and is hereby granted, in common with all other Unit
     Owners, an easement to use the Common Elements in accordance with the purpose(s) for which
    they are intended and without hindering the exercise of or encroaching upon the rights of the
    other Unit Owners in respect of such easement (but subject in each case to any right and
    privileges of the Hotel Unit Owner (or Hotel Operator) herein or in the Condominium By-Laws
    provided with respect to certain of the Common Elements). Each Unit shall be subject to an
    easement in favor ofthe Condominium Board, on behalf of all Unit Owners, to use, operate,
    maintain, repair, alter, rebuild, restore and replace all General Common Elements located in such
    Unit or elsewhere on the Property. In addition, the Condominium Board shall have the right to
    erect scaffolding on or upon any portion of the Building, including, without limitation, any
    Balconies and/or Terraces for a temporary period of time in connection with maintenance and
    repairs of the Building and its Common Elements; and the Hotel Unit Owner shall have the right
   to erect scaffolding on or upon any portion of the Building, including, without limitation, any
   Balconies and/or Terraces for a temporary period of time in connection with maintenance and
   repairs of the Hotel Unit, the Hotel Limited Common Elements and in exercising any rights
   granted hereunder or otherwise with respect to the Suite Units or Club Units. The Condominium
   Board and the Managing Agent, the Hotel Unit Owner and other Persons authorized by the
   Condominium Board shall have a right of access to each Unit and any Limited Common Element
   appurtenant to such Unit, whether exclusive or not, (and such is hereby granted) to inspect the
   same or remove violations of governmental laws or regulations against any part of the Property;
   to cure defaults by the owner of such Unit under the Condominium By-Laws, this Declaration or
  the Rules and Regulations; to perform maintenance, installations, Alterations and Repairs to the
  mechanical, plumbing or electrical systems or other portions of the Common Elements
  (including, without limitation, all Limited Common Elements) contained therein or elsewhere in
  the Property; or correcting any conditions originating in any Unit and threatening another Unit or
  any Common Element; provided such right of access shall be exercised in such a manner as will
  not unreasonably interfere with the Units for their permitted purposes or, in the case of the Hotel
  Unit, with the conduct of the business of the Hotel Unit therein or with the use and enjoyment
  thereof by the occupant(s) thereof. Such· entry shall be permitted on not less than one day's
  notice, except that no notice will be necessary in the case of any "emergency" (i.e. , a condition
  requiring repair or replacement immediately necessary for the preservation or safety of the
  Building or for the safety of occupants of the Building, or other Persons, or required to avoid the
  suspension of any necessary service in the Building).

                                                 ARTICLE 15

                      EASEMENTS AND CERTAIN OTHER RESERVED RIGHTS                                             .-·

                        15.1 Each Unit Owner shall have, in common with all other Unit Owners, and             ,..
        each Unit shall be subject to, an easement to install, operate, maintain, Alter, Repair and rebuild
        the Common Elements located in, over, under, through or upon any Unit, or any other Common
        Element or elsewhere on the Property, subject in all events to the rights of the Hotel Unit Owner

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 with respect to the Hotel Limited Common Elements; and to have access to any Unit or the
 Common Elements in furtherance of such easement provided the same is exercised in such a
 manner as will not unreasonably interfere with the normal conduct of business of the tenants
 and occupants of the Commercial Units or with the use of the Suite Units or Club Units (as
 applicable) for their permitted purposes (and in the case of the exercise by a Suite Unit Owner
 or Club Unit Owner of the easement granted pursuant to the foregoing, the same shall be made
 by the Condominium Board on such Unit Owner's behaJf). Such entry shall be permitted on not
 Jess than one day's notice, except that no notice wiH be necessary in the case of an emergency.

                15.2 The Condominium Board, with respect to the General Common Elements,
and the Hotel Unit Owner, with respect to the Hotel Limited Common Elements, or their
respective agents, to the extent such Persons are permitted to act by the Condominium By-Laws
for such purposes, wiU have a right of access to each Unit to inspect the same, to remove
violations therefrom and to maintain such Common Elements to the extent contained therein or
elsewhere in the Property.

               15.3 Each Unit and the Common Elements shaH have easements of subjacency,
support and necessity, and the same shaH be subject to such easements in favor of all the other
Units and the Common Elements.

                 15.4 Each Suite Unit and Club Unit shall have, to the extent reasonab)y
necessary in furtherance of the intended uses of such Units and on the same basis as Hotel
Guests (i.e., there shaH be no discrimination with respect to such easement against the Suite
Units or Club Units), an easement for ingress thereto and egress therefrom by the Registered
Occupant{s) thereof The Units and the Common Elements shall each be subject to such
easement. The benefits of such easement shall also extend to the Permittees of the Registered
Occupant(s) of such Units as and to the same extent, and subject to the same rules and
procedures and on the same basis, as determined by the Hotel Unit Owner with respect to
Permittees of the Registered Occupants of the transient hotel room portions of the Hotel Unit.
As used in the Condominium Documents, the term "Registered Occupant(s)" means the
occupant(s) of a Suite Unit or Club Unit, as the case may be, registered with the hotel front desk
as an Occupant thereof at the time in question.

                15.5 The Hotel Unit Owner is hereby expressly granted and shall at all times
have the right to alter and reconfigure certain portions of the lobby, entrance and other public
areas of the Building, to the extent reasonably necessary in connection with the operation of a
hotel in the Building or otherwise appropriate for a building operated under the Hotel Flag
Standards. Any such alteration and/or reconfiguration, whether made to any portion of the
Hotel Unit, the Hotel Limited Common Elements or the General Common Elements, shall be
made as an Allocable Hotel Expense (as defined in Section 6.2.4 of the Condominium By-
Laws) upon notice to, but otherwise without the consent or approval of, the Condominium
Board or any other Unit Owner; except if such item of Alteration, Repair or maintenance
included in such work was not otherwise necessary or appropriate in the ordinary course of the
operation and affairs of the Condominium including, without limitation, maintaining the Hotel
Flag Standards (as hereinafter defined), in which case the costs thereof shall the sole expense of
the Hotel Unit Owner. By way of illustration, but without limitation, the Hotel Unit Owner may
relocate the hotel reception desk or concierge desk or change the canopy or marquee above the


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       entrance way. In each case, as applicable, the Hotel Unit Owner shall provide reasonably
       comparably sized space within either the Hotel Unit or elsewhere in the Conunon Elements to
       replace the space so taken or redesigned. Nothing in this paragraph shall affect the ability of the
       Condominium Board to maintain or repair such areas on behalf of the Unit Owners and to
       allocate the cost thereof among the Unit Owners as a General Common Charge.

                       15.6 The Hotel Unit Owner (or its designee) and the Condominium Board with
       respect to the Property, the Retail Unit Owner with respect to their its Unit, the Suite Sponsor
      with respect to the Unsold Suite Units and the Club Sponsor with respect to the Unsold Club
       Units, shall each have the right to grant such additional electric, gas, steam or other utility
      easements or relocate any existing utility easements in any such portion of the Property, as the
      Hotel Unit Owner (or its designee) or the Condominium Board, the Retail Unit Owner, the Suite
      Sponsor or the Club Sponsor, as the case may be, shall deem necessary or desirable for the
      proper operation and maintenance of the Building, or such applicable portion thereof, or for the
      general health or welfare of the owners, tenants and occupants of the Property or the respective
      Units, provided that such additional utilities or the relocation of existing utilities will not
      prevent or unreasonably interfere with the normal conduct ofbusiness of the tenants and
      occupants of any Unit owned by another other Unit Owner or with the use of any of the other
      Units for their permitted purposes or with the use and operation of the General Common
      Elements. Any utility company and its employees and agents shall have the right of access to
      any Unit or the Common Elements in furtherance of such easement, provided such right of
      access shall be exercised in such a manner as shall not unreasonably interfere with the normal
      conduct of business of the Hotel Unit Owner or of the tenants and occupants of the Commercial
      Units or with the use of any of the other Units for their permitted purposes.

                       15.7 (a) The Hotel Unit Owner (or its designee), shall, to the extent permitted
       by Law, have an easement to place, erect, maintain, repair and replace, from time to time, one or
       more signs, canopies, flags, flagpoles, lighting, lighting elements or awnings or other
       protrusions, devices or decorative elements on or within the Property (other than within a Suite
       Unit or Club Unit without the consent of the Unit Owner thereof), including without limitation,
       on the exterior of the walls (including balconies) of the Building, for the purposes of advertising
      or promoting or enhancing the operation of the hotel within the Hotel Unit or the sale or lease of
      all or any portion of the Hotel Unit, and/or the operation of any business of a tenant or occupant
      of all or any portion of the Hotel Unit; (b) the Retail Unit Owner (or its designee) and its
      successors and assigns, shall, to the extent permitted by Law (and subject to the consent of the
      Hotel Unit Owner), have an easement to erect, maintain, repair and replace, from time to time,
      one or more signs, canopies, flags, flagpoles, lighting, lighting elements or awnings or other
      protrusions, devices or decorative elements on the exterior of the Property in those areas
      adjacent to or adjoining the Retail Unit, including without limitation, on the exterior of the walls
      of the Building, in connection with the operation of any business of a tenant or occupant of all
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      or any portion of the Retail Unit; (c) each of the Suite Sponsor and the Club Sponsor (or their
      respective designee(s)) and their respective successors and assigns as the owner(s) of any
      Unsold Units, shaH, to the extent permitted by Law (and subject to the consent of the Hotel Unit
      Owner), have an easement to erect, maintain, repair and replace, from time to time, one or more             \ .·    .··:
                                                                                                                     '
      signs, canopies, flags, flagpoles, lighting, lighting elements or awnings or other protrusions,
      devices or decorative elements on the Property (other than within a Suite Unit or Club Unit
      without the consent of the Unit Owner thereof), including without limitation, on the exterior of

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  the walls (including any balconies) of the Building, for the purposes of advertising the sale or
  lease of any Unsold Unit; and (d) the Hotel Unit Owner and the Condominium Board shall each
 have an easement to install, maintain, inspect and replace from time to time, any signs, plaques
 or other notices, items, devices or objects within the Suite Units and the Club Units to th6 extent
 required by Law in connection with the operation of a hotel at the Building. In addition, each of
 the Suite Sponsor and the Club Sponsor (or their respective designee(s)) and their respective
 successors and assigns as the owner(s) of any Unsold Units shall have the right, until the tenth
 anniversary of the initial recording of this Declaration (and subject to the reasonable approval of
 the Hotel Unit Owner), to use, without charge, portions of the Building (other than within a
 Suite Unit or Club Unit without the consent of the Unit Owner thereof), including the Common
 Elements, for exhibitions, events, promotional functions with respect to any sales programs for
 Unsold Units.

                   15.8 The owner ofthe Hotel Unit and/or its designee(s) (and its/their respective
  successors and assigns) shall have an easement for so long as the Condominitun shall remain in
  existence: (i) to erect, use, lease, license, maintain, repair, replace and operate a platform and
  other facilities for the purpose of erecting, using, leasing, licensing, maintaining, repairing,
  replacing and operating antennae, satellite dishes and other communications equipment on any
  part of the roof or fa~ade (including balconies) of the Building that is not then occupied for any
  other Building installations (or, if occupied, the Hotel Unit Owner may use the same so long as
  it relocates the Building installations at its own expense); and (ii) to erect, use, lease, maintain,
  repair, replace and operate related electronic and other communications equipment in any
  portion of any mechanical equipment room that is not then occupied by any other Building
  installations (or, if occupied, the Hotel Unit Owner may use the same so long as it relocates the
  Building installations at its own expense), and the right to erect partitions separating such
  portion from the balance of such equipment room; in each case, without the consent of, or
  charge by, the Condominium Board or any other Unit Owners; provided, however, that the
  Hotel Unit Owner (or its designee) shall give prior notice to the Condominium Board of the
 type and location of any such equipment before installation (and of any relocation of Building
 installations as aforesaid). In addition to any other reserved right of the Hotel Unit Owner
 under the Condominium Documents with respect to the subdivision of Units, the Hotel Unit
 Owner shall also have the right to create additional Commercia) Units consisting of portions of
 the Hotel Unit, each of which shaH have as an appurtenant easement to use a portion of the
 Hotel Unit's platform and other facilities on the roof of the Building, upon which such
 additional Commercial Unit Owner (or its tenant or licensee) may place, erect, use, lease,
 license, maintain, repair, replace and operate antennae, satellite dishes and other
 telecommunications equipment. If such additional Commercial Units are created, the
percentage interest in the Common Elements allocated to the Hotel Unit together with all such
additional Commercial Units, and the percentage interests of all other Units, will remain
unchanged. Any obligations ofthe owner of Hotel Unit (or its designee) under any lease,
license or other right of use granted by the owner of Hotel Unit with respect to the roof, fayade,
or the aforesaid mechanical equipment room shalJ be the obligation solely of the owner of Hotel
Unit and not of the Condominium and any rights of the owner of Hotel Unit (or its designee),
including, without limitation, the right to receive rent, license fees or other consideration for
such lease, license or otherright of use, shall be the right solely of the Hotel Unit Owner (or its
designee) and not of the Condominium. In cormection with such easements and related rights,
the Hotel Unit Owner and its designee(s) (and their respective successors and assigns) and their

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  respective tenants and licensees shall each have, to the extent necessary or advisable for such
  erection, use, lease, maintenance, repair, replacement and operation, an easement in conunon
  with all Unit Owners for ingress, egress and the use of any Conunon Elements. The Units and
  the Common Elements shall be subject to such easement. The word "utility" or "utilities" as
  used in this Section I 5.8 shall be deemed to include fiber optic cable and other communications
  lines, wires, cables, conduits and devices.

                  15.9 The Hotel Unit Owner has reserved to itself and/or its designee an
  easement with respect to the use and preservation of the fayade of the Building and shaU have
  the exclusive right to apply for and/or grant with respect to the fayade of the Property (which is
  otherwise a General Common Element) a further historic preservation easement or similar right;
  and, in such event, the Hotel Unit Owner, and not the Condominiwn (nor any other Unit
  Owner), shall be entitled to any and aU tax and other benefits, if any, accruing with respect
  thereto. The Condominium Board and each Unit Owner shall reasonably cooperate with the
  Hotel Unit Owner in making any such application and/or granting any such easement. The
  Hotel Unit Owner has also reserved for itself and/or its designee the exclusive, right to apply for
  a historic Rehabilitation Tax Credit pursuant to the Tax Reform Act of 1986 (the "Tax Reform
  Act") to the extent the same is upon the recording of this Declaration or later become available
 as a result of any work done from time to time by the Hotel Unit Owner or otherwise at the
 Building. The foregoing rights and reservations will run with the land and bind all Unit Owners
 and the Condominium Board and their respective successors and assigns. If the Condominium
 Board or any Unit Owner fails to execute, acknowledge or deliver any instrument, or fails or
 refuses to take any action which is required of it to perform in furtherance of the making of such
 application and/or the granting of such easement, then the Hotel Unit Owner and/or its designee
 is authorized, as attorney-in-fact, coupled With an interest, for the Condominium Board or such
 Unit Owner(s) as applicable, to execute, acknowledge and deliver any instrument, or to take
 action, in the name of the Condominium Board or such Unit Owner(s), as applicable, in
 furtherance thereof, and such instrument or action shall be binding on the Condominium Board
 and such Unit Owner(s).                                                                                •
                 15.10 Subject to Section 6.2.4 of the Condominium By-Laws with respect to the
 payment by or on behalf of the Suite Unit Owners and the Club Unit Owners of a portion of the
 Allocable Hotel Expenses, the Hotel Unit Owner hereby grants to the Registered Occupants of
 the Suite Units and the Club Units, but only for so long as any portion ofthe Hotel Unit is
 operated as a hotel, the rights of access and use with respect to certain facilities and services of
 the Hotel Unit and the Hotel Limited Common Elements, as described, and subject to the terms                      .·
 and conditions set forth, below:

                        15.10.1       For so long as any portion ofthe space specified as "Health
Club' on the Floor Plans and all improvements thereto or thereon is made available to Hotel
Guests (as defined below) as a fitness facility, the Registered Occupants ofthe Suite Units and
Club Units shall have a right to access and use the Health Club for the same purposes and on the
same basis which Hotel Guests are permitted to access and use the Health Club. Such right of
access and use described in the preceding sentence shall be subject only to such uniformly
enforced rules and regulations (regarding, inter alia, hours of operation and use, dress code,
conduct, utilization and permitted guests) as the Hotel Unit Owner may, from time to time,                       . ..
promulgate for Hotel Guests, except that Registered Occupants shall not be charged a separate                    .· .

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 fee (other than the share of the costs associated with such portions of the Hotel Unit assessed
 against the Suite Units and Club Units as an Allocable Hotel Expense in accordance with Section
 6.2.4 of the Condominium By-Laws) for basic access to, and the use of, the fitness equipment,
 locker rooms, and sauna (in each case, if any). All rules and regulations and policies
 promu.lgated by the Hotel Unit Owner in accordance with the provisions of this subsection may
 provide for appropriate remedies, including suspension and/or termination of rights of a
 Registered Occupant in the event of the non-payment by such party or the applicable Suite Unit
 Owner or Club Unit Owner of any applicable fees, charges or assessments payable by such party
 or any failure by such party to comply with such rules and regulations.

                        15.10.2        For so long as any portion of the Hotel Unit is operated as a
hotel, the Hotel Unit Owner covenants and agrees to provide or cause to be provided to
Registered Occupants of the Suite Units and Club Units: (A) on the same basis (and to the extent
(if any)) that such services are provided and made available to Hotel Guests: (i) hotel concierge
service provided by the hotel concierge staff; (ii) lobby bellmen and doormen; and (iii) room
service (at per-use fees determined from time to time by the Hotel Unit Owner and/or Hotel
Operator); and (B) housekeeping service at a daily charge determined from time to time by the
Hotel Unit Owner and/or Hotel Operator. An aUocated portion of the cost to the Hotel Unit
Owner in providing and making available to the Suite Units and Club Units the basic services
described in (A)(i) and (A)(ii) above in this subsection 15.10.2 will be payable by the Suite Unit
Owners and Club Unit Owners as an Allocable Hotel Expense in accordance with the
Condominium By-Laws.

                       15.10.3         As used in this Section 15.10 and otherwise in the
Condominium Documents, the term "Hotel Guest" means a standard guest, invitee or licensee
occupying on a transient basis a guest room or suite within the Hotel Unit. Where reference is
made to an item or service being provided "on the same basis as for Hotel Guests" or "to the
extent made available to Hotel Guests" or words of similar import, this shall refer to a typical
Hotel Guest occupying a room in the ordinary course of the Hotel's business who is not (a) part
of a group, convention group or tour, (b) staying at the Hotel as part of any promotional or travel
package, (c) an employee of the Hotel Unit Owner or the Hotel Operator or their affiliates,
(d) obtaining the benefit of any national or regional promotion or awards program, or
(e) otherwise receiving discounts or benefits not .general! y provided to other Hotel Guests then
staying at the Hotel.

                 15.11 The Hotel Unit Owner shall have such easements as are necessary to
 provide hotel-type services (such as, without limitation, room service, mini-bar and liquor
 service) throughout the Property including, without limitation, to each Unit and to the Common
 Elements. The Hotel Unit Owner shall also have such easements as are necessary in order to
 cause daily trash and recyclables removal from each Suite Unit and Club Unit.

                 15.12 With respect to the following elevators (identified on the Floor Plans as
 General Common Elements), the following specific easements are hereby created in favor of the
 Persons identified below:

                       15.12.1         The Retail Unit Owner and its Occupants, the Hotel Unit
and its Occupants, shall jointly have an exclusive easement to use the elevator designated as


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     SE 12 on the Floor Plans, subject to the obligation of such Unit Owners to pay the costs
     associated therewith as set forth in the Condominium By-Laws.

                            15.12.2       The Hotel Unit Owner and its Occupants, shaH have an
     exclusive easement to use the elevator designated as P .E.6 on the Floor Plans, subject to the                  ' .
     obligation of such Unit Owner to pay the costs associated therewith as set forth in the
     Condominium By-Laws.
·.
                              15.12.3        W1th respect to the remaining elevators in the Building
     constituting General Common Elements: (a) the Hotel Unit Owner and its Occupants, and
     its/their respective Permittees; and (b) the Suite Unit Owners and the Club Unit Owners, for the
     benefit of the Registered Occupant(s) of their respective Units (together with such Registered
     Occupants' Permittees (as and to the same extent, and subject to the same rules and procedures,
     as determined by the Hotel Unit Owner with respect to Permittees of Registered Occupants of
     the transient hotel room portions of the Hotel Unit)) shaH have a shared non-exclusive easement                 .·
     to use such elevators, subject to the obligation of such Unit Owners to pay the costs associated
     therewith as set forth in the Condominium By-Laws.

                     15.13 Notwithstanding anything in Section 7.2 or Article 15 of this Declaration,
     with respect to any equipment which is the property of a particular Unit Owner but which is
     located within a room or other space categorized as a General Common Element, the owner
     thereof shalJ have the right to reasonably relocate or replace such equipment with similar
     equipment or to a comparable space or area within such General Common Element space
     provided the same shall not interfere with or impede the right or ability of any other Unit Owner
     or the Condominium Board from similarly using or continuing to use such General Common
     Element space or area on a comparably shared basis.
                                                                                                                          .·
                      15.14 The Common Elements and each Unit (to the extent applicable) shall be
     subject to the terms and conditions of the those certain Reciprocal Easement Agreements dated
     as of                 , 2006 and recorded as CRFN                        and CRFN
     - -- - - - -- respectively governing certain cross-easements, rights and obligations as
     between the Property and the property located at and commonly known as 697 Fifth Avenue,
     New York, New York.

                     15.15 Each easement and other right granted under this Article 15 in favor ofthe
     Condominium Board or one or more Unit Owners (as distinguished from easements in favor the
     Registered Occupants of the Suite Units and the Club Units) shall be deemed to permit, as
     applicable, the Condominium Board's or the Unit Owner's contractors, subcontractors, agents,
     representatives, employees and other appropriate~ designees (and, in the case of a grant to the
     Condominium Board, the Managing Agent), to use such easement or other right, as applicable,
     if such Unit Owner so elects, in all cases subject to the terms of this Declaration, the
     Condominium By-Laws and the Rules and Regulations.

                    15.16 Any grant of an easement «on", "over", "across" or "through" a given area
     shall be deemed to mean "on, over, across, through, and upon" such area, unless the context
     otherwise requires.                                                                                             .' :
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                 15.17 Except as may otherwise be set forth in this Declaration, any easement
 created or granted hereunder shall be perpetual and irrevocable for so long as the Condominium
 shall remain in existence.

                 15.18 Notwithstanding any grant in favor of the Suite Units and Club Units
 hereinabove set forth, the same shaH not act as a limitation on the obligation of, as set forth in
 more detail in the Condominium By-Laws, the Suite Unit Owners and Club Unit Owners to pay
 certain of the expenses incurred by the Hotel Unit Owner and/or Hotel Operator in connection
 with owning, operating, maintaining, insuring, repairing, replacing, altering and improving
 certain portions of the Hotel Unit and the Hotel Limited Common Elements affected by such
 easements.

                                          ARTICLE 16
                         POWEROFATTORNEYTOTHEBOARD
                  16.1 Subject to the provisions of Article 8 of the Condominium By-Laws, each
 Unit Owner shall grant to the Persons who shall from time to time constitute the Condominium
 Board, an irrevocable power of attorney, coupled with an interest (in such form and content as
 the Condominium Board shall determine): (a) to acquire or lease on behalf of all Unit Owners
 any Unit (or fractional, club or other interest in a Unit), together with its Appurtenant Interests
 (as hereinafter defined), from any Unit Owner desiring to sell, convey, transfer, assign or lease
 the same, upon such terms and conditions as shaJJ be approved by the Condominium Board in
 its reasonable discretion; (b) to acquire on behalf of all Unit Owners any Unit (or fractionaJ,
 club or other interest in a Unit), together with its Appurtenant Interests, whose Owner elects to
 surrender the same to the Condominium Board; (c) to acquire any Unit (or fractional, club or
 other interest in a Unit), together with its Appurtenant Interests, which becomes the subject of a
foreclosure or other similar sale, on such terms and at such price or rental as the case may be, as
the attorneys-in-fact deem proper, in the name of the Condominium Board or its designee,
corporate or otherwise. on behalf of aH Unit Owners, and after any such acquisition or leasing,
to convey, sell, lease, sublease, mortgage or otherwise deal with (but not vote the interest
appurtenant thereto) any such Unit (or interest) so acquired by them, or to sublease any Unit (or
interest) so leased by them without the necessity of further authorization by the Unit Owners,
on such terms as the attorneys-in-fact may determine; and (d) to execute, acknowledge and
deliver (i) any declaration or other instrument affecting the Condominium which the
Condominium Board deems necessary or appropriate to comply with any Law applicable to the
maintenance, demolition, construction, Alteration or Repair of the Condominium, or (ii) any
consent, covenant, restriction, easement or declaration, or any amendment thereto, affecting the
Condominium or the Common Elements which the Condominium Board, in its reasonable
discretion, deems necessary or appropriate.

                16.2 Each Unit Owner shall grant to the Hotel Unit Owner a power of attorney
to amend this Declaration and to effectuate the rights granted to the Hotel Unit Owner and its
designee under this Declaration and the Condominium By-Laws and the Offering Plans and to
consent on behalf of each Unit Owner, as a party in interest, to any declaration or other
agreement effecting a merger or division of the zoning lot in which the Property is located, with
any other tax Jots to form a single zoning Jot (the "Merger") for the purpose of transferring to or


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 from the Hotel Unit Owner, or its successors or assigns, all or any portion of the Development
 Rights.

                                           ARTICLE 17
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                         ACQUISITIONS OF UNITS BY THE BOARD

                 lf(a) any Unit Owner surrenders his or her Unit (or fractional, club or other
 interest in a Unit), together with (i) the undivided interest in the Common Elements appurtenant
thereto, (ii) the interest of such Unit Owner in any other Units (or interests) theretofore acquired
 by the Condominium Board or its designee, corporate or otherwise, on behalf of all Unit Owners,
or the proceeds of the sale or lease thereof, if any, and (iii) the interest of such Unit Owner in the
Common Elements and any other assets of the Condominium (such interests in (i), (ii) and
(iii) being hereinafter collectively called the "Appurtenant Interests"), pursuant to the provisions
of Section 339-x ofthe New York Condominium Act; (b) the Condominium Board acquires or
leases a Unit (or fractional, club or other interest in a Unit), together with its Appurtenant
Interests; or (c) the Condominium Board acquires, at a foreclosure or other similar sale or
otherwise, or leases, a Unit (or such interest) together with its Appurtenant Interests, then, in any
such event, title to any such Unit (or interest), together with its Appurtenant Interests, shall be
held by the Condominium Board or its designee, on behalf of all Unit Owners, in proportion to
their respective interests in the Common Elements. The lease or sublease covering any Unit (or
fractional, club or other interest in a Unit) leased or subleased by the Condominium Board or its
designee shall be held by the Condominium Board or its designee, corporate or otherwise, on
behalf of all Unit Owners, in proportion to their respective interests in the Common Elements.

                                           ARTICLE 18

                        COVENANTS RUNNING WITH THE LAND

                18.1 All provisions ofthis Declaration, and ofthe Condominium By-Laws and
 the Rules and Regulations (true copies of which are annexed hereto and made a part hereof),
 including, without limitation, the provisions of this Article 18 and of any Rules and Regulations
 as may be adopted and amended from time to time, shall, to the extent applicable and unless
 otherwise expressly herein or therein provided to the contrary, be perpetual and be construed to
 be covenants running with the Land and with every part thereof and interest therein, and all of
the provisions hereof and thereof shall be binding upon and inure to the benefit of the Unit
Owners of all or any part thereof, or interest therein, and their heirs, executors, administrators,
legal representatives, successors and assigns, but the same are not intended to create nor shall
they be construed as creating any rights in or for the benefit of the general public. All present
and future owners, tenants and occupants of Units shall be subject to and shall comply with the
provisions ofthis Declaration, the Condominium By-Laws and the Rules and Regulations. The
acceptance of a deed or conveyance or the entering into a lease or the entering into occupancy
of any Unit shall constitute an agreement that the provisions of this Declaration, the
Condominium By-Laws and the Rules and Regulations are accepted and ratified by such owner,                         ..
tenant or occupant, and all of such provisions shall be deemed and taken to be covenants
running with the Land and shall bind any Person having at any time any interest or estate in             .
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  such Unit, as though such provisions were recited and stipulated at length in each and every
  deed or conveyance or lease thereof.

                   18.2 Notwithstanding anything in Section 18.1 or otherwise, however, at the
  request of any Commercial Unit Owner made from time to time, the Condominium Board shall,
  at the sole cost and expense ofthe requesting Unit Owner, execute and deliver a non-
  disturbance agreement in form and substance as may be agreed upon by the Condominium
  Board and the requesting Unit Owner to and for the benefit of any occupant of such Unit
  Owner's Unit.

                  18.3 If any provision of this Declaration or the Condominium By-Laws is
  invalid under, or would cause this Declaration and the Condominium By-Laws to be insufficient
  to submit the Property to the provisions of, the New York Condominium Act, such provision
  shall be deemed deleted from this Declaration or the Condominium By-Laws, as the case may
  be, for the purpose of submitting the Property to the provisions of the New York Condominium
  Act but shall nevertheless be valid and binding upon and inure to the benefit of the owners of
  the Property and their heirs, executors, administrators, legal representatives, successors and
  assigns, as covenants running with the Land and with every part thereof and interest therein
  under other applicable Law to the extent permitted under such Law with the same force and
 effect as if, immediately after the recording of this Declaration and the Condominium By-Laws,
 all Unit Owners had signed and recorded an instrument agreeing to each such provision as a
 covenant running with the Land. If any provision which is necessary to cause this Declaration
 and the Condominium By-Laws to be sufficient to submit the Property to the provisions of the
 New York Condominium Act is missing from this Declaration or the Condominium By-Laws,
 then such provision shall be deemed included as part of this Declaration or the Condominium
 By-Laws, as the case may be, for the purposes of submitting the Property to the provisions of
 the New York Condominium Act.

                  18.4 Subject to the provisions of Section 18.3, if this Declaration and the
 Condominium By-Laws are insufficient to submit the Property to the provisions of the New
 York Condominium Act, the provisions ofthis Declaration and the Condominium By-Laws
 shall nevertheless be valid and binding upon and inure to the benefit of the owners of the
 Property, and their heirs, executors, administrators, legal representatives, successors and
 assigns, as covenants running with the Land and with every part thereof and interest therein
 under other applicable Law to the extent permitted under such Law with the same force and
 effect as if, immediately after the recording of this Declaration and the Condominium By-Laws,
 all Unit Owners had signed and recorded an instrument agreeing to each such provision as a
 covenant running with the Land.

                                         ARTICLE 19

                           AMENDMENTS OF DECLARATION

               Article 13 ofthe Condominium By-Laws is incorporated herein in its entirety;
and, except as otherwise expressly set forth herein, the provisions thereof shall govern the
amendment and/or modification of, addition to and/or deletion of any of the provisions of this
Declaration.


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                                           ARTICLE20

                             TERMINATION OF CONDOMINIUM

                   20.1 The Condominium shall continue and shall not be subject to an action for
  partition until: (a) terminated by casualty loss, condemnation or eminent domain, as more
  particularly provided in the Condominium By-Laws (an "Involuntary Termination"); or (b) such
  time as withdrawal of the Property from the provisions of the New York Condominium Act is
  authorized by a vote of at least 80% in Common Interests of all Unit Owners (a "Voluntary
  Termination"). Any Unit Owner voting against the Voluntary Termination, or not voting, may
  within fifteen (15) days from the Voluntary Termination Date (hereinafter defined), change or
  cast its vote in favor of termination by delivering written notification thereof to the Hotel Unit
  Owner. No such vote under clause (b) in the preceding sentence shall be effective without the
  written consent (which consent shall not be unreasonably withheld or delayed) of the Hotel
  Mortgagee Representative, if any.

                  20.2 To the fullest extent permissible under Law, each Unit Owner shall be
 deemed to have waived any right to seek partition of the Property. In the event said withdrawal
 is authorized as aforesaid, and only to the extent the waiver contained in the preceding sentence
 shall be inapplicable or unenforceable, the Property shall, subject to Section 20.3 hereof, be
 subject to an action for partition by any Unit Owner or lienor as if owned in common, in which
 event the net proceeds of sale, together with the net proceeds of any applicable insurance
 policies, shall be divided among all Unit Owners in proportion to their respective Common
 Interests, provided, however, that no payment shall be made to a Unit Owner until there has first
 been paid out of its share of such funds, such amounts as may be necessary to discharge all
 unpaid liens on its Unit (other than mortgages which are not Permitted Mortgages) in the order
 of the priority of such liens.

                 20.3 For a period of one hundred twenty (120) days from the date of the
 Involuntary Termination ("Involuntary Termination Date") or the date of the affirmative vote of
 the Unit Owners as to a Voluntary Termination ("Voluntary Termination Date"), as applicable,
 the Hotel Unit Owner shall have an option to elect, by written notice given within such 120-day
 period, to buy any or all of the other Units (or the interests of the other Unit Owners in the
 Property), with purchase to be effected as described below. The vote of the other Unit Owners
 approving the Voluntary Termination shal1 be irrevocable until the expiration of the option
 period. In the event of either an Involuntary Termination or Voluntary Termination, the option
 shall be exercised upon the following terms:

                        (a)     The option shall be exercised by delivery, or the mailing by
certified or registered mail, of an agreement to purchase, signed by the Hotel Unit Owner to each
of the other Unit Owners.

                       (b)    The sales price for each Unit shall be the fair market value as
determined between the respective Unit Owner and Hotel Unit Owner (assuming the fire or                ... ·.'
casualty had not occurred). In the absence of agreement on the sales price of any Unit, such fair               .     :
market value shal1 be determined by an appraiser appointed by the American Arbitration
Association (or any successor organization). A judgment of specific performance ofthe sale, at         ~~   I •       •




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 the sales price determined by the appraiser, may be entered in any court of competent
 jurisdiction. In the event of an Involuntary Termination, the sales price of a Unit shall be
 reduced by the gross amount of any insurance award or awards received by the Unit Owner of
 such Unit under policies purchased by the Condominium Board or otherwise.

                       (c)    The purchase price shall be paid in cash. The Unit shall be
 delivered by the Unit Owner thereof at closing free of any mortgages or other liens.

                        (d)    The contract shall be in the form of the then standard form contract
 adopted by the Association of the Bar of the City ofNew York (or, if no such form then exists,
 the New York State Bar Association) for the purchase and sale of residential condominium units
 within the City of New York as modified to the extent required in order to conform with the
 terms of this Section 20.3. As of the date hereof, such standard contract is identified as
 Blumberg Form Ml46.

                        (e)     The sale of all Units shall be closed simultaneously and within
 thirty (30) days following the determination of the sales price (or sale price adjustment) of all of
 the Units to be purchased.

                       (f)     In the event the Hotel Unit Owner exercises its option with respect
to any Involuntary Termination, the Hotel Unit Owner shall receive any insurance proceeds or
awards payable with respect to the casualty, condemnation or taking (or, if the Unit Owner failed
to carry any required insurance with respect thereto, the Hotel Unit Owner shall receive a credit
against the purchase price for such Unit in the amount that would have been payable if such
insurance requirement had been satisfied).

                        (g)    Without limitation, the provisions of Section 25.2 and 25.3 shall
apply to the rights and obligations of the Unit Owners under this Section and the Hotel Unit
Owner shall have all available rights and remedies, at law, in equity or otherwise, in respect
hereof, including, without limitation, the right to specific performance.

                                           ARTICLE21

                                             WAIVER

                No provision contained in this Declaration shal1 be deemed to have been
abrogated or waived by reason of any failure to enforce the same, irrespective of the number of
violations or breaches which may occur.

                                          ARTICLE22

                                           CAPTIONS

               The captions herein are inserted only as a matter of convenience and for
reference, and in no way define, limit or describe the scope of this Declaration nor the intent of
any provision hereof



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                                                              ARTICLE23

                                                      CERTAIN REFERENCES

                                  23.1 A reference in this Declaration to any one gender, masculine, feminine or
                   neuter, includes the other two, and the singular includes the plural, and vice versa, unless the
                   context otherwise requires.

                                  23.2 The terms "herein," "hereof' or "hereunder" or similar terms used in this
                   Declaration refer to this entire Declaration and not to the. particular provision in which the terms
                   are used.

                                  23.3 Unless otherwise stated, all references herein to Articles, Sections or other
                   provisions are references to Articles, Sections or other provisions of this Declaration.

                                                             ARTICLE24

                                                           SEVERABILITY

                                  Subject to the provisions of Sections 18.3 and '18.4, if any provision of this
                  Declaration is irwalid or unenforceable as against any Person or under certain circumstances, the
                  remainder of this Declaration and the applicability of such provision to other Persons or
                  circumstances shall not be affected thereby. Each provision of this Declaration shall, except as
                  otherwise herein provided, be valid and enforceable to the fullest extent permitted by Law.

                                                            ARTICLE25

                                           COVENANT OF FURTHER ASSURANCES

                                   25.1 Any party which is subject to the terms ofthis Declaration, whether such
                   party is a Unit Owner, a lessee or sublessee of a Unit Owner, an occupant of a Unit, a member
                   or officer of the Condominium Board, or otherwise, shall, at the expense of any such other party
                  (or the holder of a lien on its Unit) requesting the same, execute, acknowledge and deliver to
                  such other party (or the holder of a lien on its Unit) such instruments, in addition to those
                  specifically provided for herein or in the Condominium By-Laws, and take such other action, as
                  such other party (or the holder of a lien on its Unit) may reasonably request to effectuate the
                  provisions of this Declaration, the Condominium By-Laws or of any transaction contemplated
                  herein or therein or to confirm or perfect any right to be created or transferred hereunder,
                  thereunder or pursuant to any such transaction. Without intending to limit the generality of the
                  foregoing, the Condominium Board and each Unit Owner shall be required, upon the request of
                  the Hotel Unit Owner or the Development Rights Purchaser, to execute and deliver any
                  documents or applications reasonably required in connection with any Merger, any declaration
                  of zoning lot restrictions, any ZLDA or the transfer of the Development Rights to the
                  Development Rights Purchaser.

                                   25.2 If any Unit Owner, the Condominium Board or any other party which is
                  subject to the terms of this Declaration fails to execute, acknowledge or deliver any instrument,       ..
                  or fails or refuses, within ten ( 10) days after receipt of a written request therefor, to take any

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  action which such Unit Owner or party is required to take pursuant to this Declaration and such
  failure continues for an additional ten (I 0) day period following receipt of a second written
  request therefor (together with written advice that the requesting party shall be entitled to take
  action upon the recipient's failure or refusal to perform) then the Condominium Board is hereby
  authorized as attorney-in-fact for such Unit Owner, or other party, coupled with an interest, to
  execute, acknowledge and deliver such instrument, or to take such action, in the name of such
  Unit Owner or other party and such document or action shall be binding on such Unit Owner or
  other party.

                   25.3 If any Unit Owner, the Condominium Board or any other party which is
  subject to the terms of this Declaration fails to execute, acknowledge or deliver any instrument,
  or fails or refuses, within ten ( IO) days after receipt of a written request therefor, to take any
  action which the Condominium Board, Unit Owner or party is required to execute, acknowledge
  and deliver or to take pursuant to this Declaration at the request of Fee Owner or the Hotel Unit
  Owner, then Fee Owner and/or the Hotel Unit Owner, as the case may be, is hereby authorized
  as attorney-in-fact for such Unit Owner, Condominium Board or other party, coupled with an
  interest, to execute, acknowledge and deliver such instrument or to take such action, in the name
  of such Unit Owner, Condominium Board or other party and such document or action shall be
  binding on such Unit Owner, Condominium Board or other party, as the case may be.

                                             ARTJCLE26

                                   SUCCESSORS AND ASSIGNS

                  The rights and/or obligations of each of Fee Owner, the Hotel Unit Owner, the
 Retail Unit Owner, the Suite Sponsor, the Club Sponsor and their respective designee(s) as set
 forth herein shall inure to the benefit of and be binding upon any successor or assign of such
 party or its designee(s) or, with the written consent of the Suite Sponsor (with respect to Unsold
 Suite Units) or the written consent of the Club Sponsor (with respect to Unsold Club Units) their
respective designee(s) or any transferee of all the Unsold Units then owned by such party or its
designee(s). Subject to the foregoing, Fee Owner, the Suite Sponsor and the Club Sponsor or
their respective designee(s), and each Commercial Unit Owner, as the case may be, shall have
the right, at any time, in its sole discretion, to assign or otherwise transfer its interest herein or in
any Unit, whether by merger, consolidation, sale, lease, assignment or otherwise. The rights
and/or obligations of the Unit Owners or their designees as set forth herein shall inure to the
benefit of and be binding upon any successors or assigns of such Unit Owners or their
designee(s); however, any special rights of any ofFee Owner, the Hotel Unit Owner, the Retail
Unit Owner, the Suite Sponsor or the Club Sponsor shall inure to the benefit of a successor and
assign only if the entire interest of such party is transferred or such intention is otherwise set
forth in writing. Notwithstanding the foregoing, all rights of Fee Owner in this Declaration
and/or the Condominium By-Laws shall automatically transfer and be conveyed to any successor
or assign of Fee Owner in title to all or substantially all of the Hotel Unit.




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                                                    ARTICLE27

                         SPECIAL PROVISIONS REGARDING THE CLUB UNITS
                                    AND THE CLUB SPONSOR

                        27.1     Special Definitions Related to the Club Units.

                               27 .1.1 "Club Documents" means the Declaration and Plan of Club
        Ownership for the Fifth and Fifty-Fifth Condominium pursuant to which the Club Sponsor
        submits some or all of the Club Units to fractional or club ownership and which creates an
        association which is responsible for governing the affairs of the owners of Club Interests, the
        Club By-Laws, the Club Reservation Procedures, the Club Articles, the Club Power of Attorney,
        the Club Rules and Regulations and any other documents which govern the operation of the
        Club, as the same may be amended from time to time.

                           27 .1.2 "Club Interest" shall have the meaning as set forth in the Club
        Documents or any amendments thereto.

                               27.1.3 "Club Member" means any Person or Persons who hold fee title, of
        record, to one or more Club Interests (including a contract seller, but excluding a contract
        purchaser) at the time in question. Club Member shall not include any Permitted Mortgagee
        unless such Permitted Mortgagee has acquired record title pursuant to foreclosure or any
        proceeding in lieu offoreclosure.

                      27.2 Club Association as Unit Owner. For purposes of Club Units in the Club,
        the Club Association shall be deemed for aU purposes under the Condominium Documents to be
        the Unit Owner. Notwithstanding the foregoing, the benefit of the easements granted to Unit
        Owners in the Condominium Documents and their Permitted Users shall inure to the benefit of
        the Club Members and their Permitted Users.

                        27.3 Additional Club Units. Subject to the terms of this Declaration and the
        Condominium By-Laws, Club Sponsor also has the right to submit additional Units in the
        Condominium to the Club Documents (as described in this Article 27) or any other plan of club
        or fractional ownership, including any portions of the Hotel Unit which Hotel Unit Owner may
        subdivide and convey to Club Sponsor.

                       27.4 Voting. The Club Board Member (as defined in the Condominium By-
        Laws) shall be selected by the Club Board (as defined in the Club Documents) on behalf of the
        Club Members. In addition, all voting rights of Club Members shall be exercised by the Club
        Board Member on behalf of the Club Unit Members in accordance with the terms of the Club
        Documents.                                                                                           ..•.
                         27.5 Enforcement. The Condominium Board, Managing Agent, Fee Owner,
        Hotel Owner, Hotel Operator or any other Person having rights with respect to a Club Unit shall      .., . ..
        have the right to enforce such rights directly against the Club Unit and/or the Persons owning
        interests therein, or against the Club Association to require the Club Association to enforce such
        rights, in the event the Club Association fails to do so.


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              27.6 Notice of Club Members. The Club Association sha11 provide the
  Condominium Board from time to time, and promptly upon request, with a list of Club
  Members who are entitled to use the Club Units and the names of other Permitted Users upon
  request.

                 27.7 Special Club Sponsor Rights. (a) The Club Sponsor hereby reserves the
  right, from time to time, to perform the acts and exercise the rights hereinafter specified (the
  "Special Club Sponsor Rights"). The Special Club Sponsor Rights include the following:

                              (i)    The right to locate, relocate and maintain sales offices,
management offices, signs advertising a plan of club ownership and models within designated
Units owned by the Club Sponsor. The Club Sponsor shall have the right to relocate sales
offices, management offices and models to comparable Club Units owned by the Club Sponsor.
The Club Sponsor shall have the right to show Club Units owned by the Club Sponsor to
prospective purchasers and to arrange for the use of Club Units owned by the Club Sponsor for
guest accommodations by prospective purchasers.

                              (ii)    The right to create a Club Declaration, Club By-Laws and
other related documents to address issues affecting only the administration and management of
the Club Units and a plan of club ownership with respect thereto, and to amend the Declaration
and Club By-Laws in connection therewith.

                               (iii)   For so long as the Club Sponsor continues to own any Club
Unit, the right to maintain appropriate interior signage within the Building advertising a plan of
club ownership with respect thereto, and any exchange program connected with such plan of
club ownership subject to the consent ofthe Hotel Unit Owner or its designee, which consent
sha11 not be unreasonably withheld or delayed.

                      (b)     Neither the Condominium Board nor any Unit Owner may take
any action or adopt any rule and/or regulation that will interfere with or diminish any Special
Club Sponsor Rights without the prior written consent of the Club Sponsor.

                       (c)     Any Special Club Sponsor Rights created or reserved expressly
under this Article 27 for the benefit of the Club Sponsor may be transferred to any Person by an
instrument describing the rights transferred and recorded in the City Register's Office. Such
instrument shall be executed by the Club Sponsor and the transferee.

                27.8 Conflicts. The provisions of the Club Documents shall apply to the Club
Units and the Club Interests created thereunder; provided, however, in the event of an
inconsistency between the Club Documents and the provisions of this Declaration and the
Condominium By-Laws, the terms ofthis Declaration and the Condominium By-Laws shall in
all events prevail.




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                                               ARTICLE28

                          CERTAIN INTELLECTUAL PROPERTY RIGHTS
·.
                      28.1 The Hotel Unit Owner and/or the Hotel Operator may from time to time
      either own rights in, or enter in agreements providing rights in, certain trademarks, trade names
      and/or other intellectual property allowing for the operation of the Hotel in association with a
      particular hotel brand or chain (such brand or chain, the "Hotel Flag"; and such intellectual
      property, the "Hotel Flag Intellectual Property"). For so long as the Hotel Unit is operating or
      being operated using the Hotel Flag Intellectual Property, the Hotel Flag can require that the
      Hotel Unit and the Condominium (including, without limitation, the Common Elements) be
      operated, managed and maintained at a minimum according to the standards of quality, service,
      character, appearance and image required by the Hotel Flag for hotels using the Hotel Flag
      Intellectual Property, as the s~e may be amended from time to time (or, if the Hotel Unit is not
     flagged at such time, then such standards commensurate with those of the hotel being operated
     in the Hotel Unit at the time in question) (the "Hotel Flag Standards"). The referenced
     agreements may be terminated, resulting in the removal of the Hotel Flag designation from the
     Hotel Unit: (a) if the Hotel Unit is sold and following such sale the Hotel Unit is not owned or
     operated by an entity affiliated with the Hotel Flag or by a third-party obtaining a replacement
     license agreement for continued use of the Hotel Flag Intellectual Property with respect to the
     Hotel Unit; (b) if the Condominium or the Hotel Unit is not managed, operated and maintained
     in a manner consistent with the Hotel Flag Standards; or (c) in any other circumstance in which
     the Hotel Flag Intellectual Property ceases to be associated with the operation of a hotel in the
     Hotel Unit. Under no circumstances shall the Hotel Flag Intellectual Property be deemed part
     ofthe Property or an appurtenance of any Unit. Neither the Condominium, the Condominium
     Board, the Suite Unit Owners, nor the Club Unit Owners shall have any right, title, or interest in
     any name under which the Hotel Unit is operated or in any other of the Hotel Flag lntelJectual
     Property, or in any licensing arrangement between the Hotel Flag and any other party. The
     Hotel Flag Intellectual Property shall at all times remain the sole and exclusive property of the
     Hotel Flag.

                      28.2 So long as the Hotel Unit is being operated as a hotel, each Suite Unit
     Owner and Club Unit Owner (and/or the owner of any interest therein, including, without
     limitation, any Club Interest) covenants that it shall not permit its Unit (or fractional, club or
     other interest in a Unit) to be advertised or promoted through, or otherwise affiliated with, any
     reservation system or network by whatever means (e.g., internet, electronic or otherwise), that
     identifies or otherwise represents the Unit (or interest) as being a part of an integrated hotel
     operation (as distinct from a transient rental of a privately owned Suite Unit or Club Unit (or
     interest)), unless such advertisement, promotion or reservation system or network is operated by
     the Hotel Unit Owner, the Hotel Operator or their designees; and no Suite Unit Owner or Club
     Unit Owner (or any party claiming by or through them) may use any of the Hotel Flag
     Intellectual Property in connection with any advertisement or other promotion or rental of any
     such Unit (or interest) without the express permission ofthe owner of the Hotel Flag Intellectual
     Property. Without limiting any other right or remedy available at law or in equity, the foregoing
     may be enforced by an action for specific performance and/or injunctive relief.

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                                         ARTICLE 29

                                    HOTEL OPERATOR

               29.1 As used in the Condominium Documents, the "Hotel Operator" means any
Person operating the hotel in the Hotel Unit, whether as the Hotel Unit Owner, lessee of the
Hotel Unit, or as an agent, manager or independent contractor of, or otherwise on behalf of, the
Hotel Unit Owner or lessee of the Hotel Unit, pursuant to a hotel management agreement or
otherwise.

                29.2 Except as expressly otherwise provided in the Condominium Documents,
all rights, easements and privileges of the Hotel Unit Owner (including, without limitation, any
of the Hotel Unit Owner's rights as Fee Owner or as a successor-in-interest to any of Fee
Owner's rights) may, with the consent and at the sole discretion of the Hotel Unit Owner (and
without the requirement of any consent of the Condominium Board, any other Unit Owner or
any other Person) to the extent permitted by Law, be exercised by and run and inure to the
benefit of the Hotel Operator either instead of or concurrently with the Hotel Unit Owner, with
the right of designation by such Persons to their affiliates and other designees. For the
avoidance of doubt, without acting in any way as a limitation on the foregoing provisions, the
Hotel Operator shall, subject to 1the foregoing, have and/or share the rights of the Hotel Unit
Owner set forth in Articles 6, 10 ,15 and 20 and Sections 8.1(c) and (f), 8.3 and 9.1 ofthis
Declaration; and in Sections 2.3, 2.4, 2.5, 3.8, 6.2.4, 8.1 and 8.2 of the Condominium By-Laws.




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              IN WITNESS WHEREOF, Fee Owner has caused this Declaration to be executed
as of the _ _ day of          , 2006.


                                 PRUDENTIAL HEI JOINT VENTURE,
                                 a Georgia general partnership                            ..·

                                 By_:   SLT Realty Limited Partnership,
                                        a Delaware limited partnership
                                        Its General Partner
                                        By: Starwood Hotels and Resorts,
                                             a Maryland real estate investment trust
                                             Its General Partner



                                             By: ------------------------
                                                  Name: --------------------
                                                                                            .
                                                  Title:
                                                         ---------------------
                                SLT PALM DESERT, L.L.C.,
                                a Delaware limited liability company

                                By:     SLT Realty Limited Partnership,
                                        a Delaware limited partnership
                                        Its Managing Member
                                        By: Starwood Hotels and Resorts,
                                             a Maryland real estate investment trust
                                             Its General Partner



                                            By: ------------------------
                                                 Name:
                                                 Title:
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                                       SLT ST. LOUIS, L.L.C.,
                                       a Delaware limited liability company

                                       By: SLT Realty Limited Partnership,
                                           a Delaware limited partnership
                                           Its Managing Member
                                           By: Starwood Hotels and Resorts,
                                                a Maryland real estate investment trust
                                                Its General Partner


                                           By: ------------------------
                                                Name: --------------------
                                                Title: --------------------

                                           SLT REALTY LIMITED PARTNERSHIP,
                                           a Delaware limited partnership

                                           By: Starwood Hotels and Resorts,
                                               a Maryland real estate investment trust
                                               Its General Partner


                                                 By: --------------------------
                                                 Name: --------------------
                                                 Title: ---------------- -

AGREED AND ACKNOWLEDGED:

Suite Sponsor:
FIFTH AVENUE HOTEL SUITES LLC,
a Delaware limited liability company

By: -------------------------
     Name:
     Title:

Club Sponsor:
ST. REGIS RESIDENCE CLUB OF NEW YORK, INC.,
a Florida corporation

By: --------------------------
     Name:
    Title:


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       STATE OF NEW YORK                                  )
                                                          ) ss.:
      COUNTY OF WESTCHESTER                               )                                                   ..
                      On the         day of                     in the year 2006 before me, the
      undersigned, personally appeared                    , personally known to me or proved to me on
      the basis of satisfactory evidence to be the individual whose name is subscribed to the within
      instrument and acknowledged to me that he executed the same in his capacity, and that by his
      signature on the instrument, the individual, or the Person upon behalf of which the individual
      acted, executed the instrument.




                                            (Signature and office of individual taking acknowledgment)



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                                      SCHEDULE A
                             TO DECLARATION ESTABLISHING
                              CONDOMINIUM OWNERSHIP OF
                          FIFTH AND FIFTY-FIFTH CONDOMINIUM

                                 DESCRIPTION OF THE LAND

  ALL that certain plot, piece or parcel of land, situate, lying and being in the Borough of
  Manhattan, County of New York, City and State of New York, bounded and described as
  follows:

                BEGINNING at a point on the Southerly side of East 55th Street distant 170'-6"
 Westerly from the comer formed by the intersection ofthe Southerly side of East 55th Street and
 the Westerly side of Madison Avenue;

     ·            RUNNING THENCE Southwardly along a line parallel with the Westerly side of
 Madison Avenue and along the Westerly line of premises known as number 14 East 55th Street
 I 00' -5" to a point in the center line of Block;

                THENCE Westwardly along the center line of Block 149'-6" to a point on the
 Easterly line of number 697 5th Avenue;

                THENCE Northwardly along a linte parallel with the Easterly side of Fifth A venue
 and along the Easterly line of premises known as number 697 51h Avenue 25'-5" to a point;

                THENCE Westwardly along a line parallel with the Southerly side ofEast 55 1h
 Street and along the Northerly line of premises known as number 697 51h A venue I 00' -0" to a
 point on the Easterly side of 5th Avenue;

                   THENCE Northwardly along the JEasterly side of Fifth Avenue 75'-0" to the
  comer formed by the intersection of the Easterly side of 51h A venue and the Southerly side of
. East 55 1h Street;

 THENCE Eastwardly along the Southerly side of East 55 1h Street 249' -6" to the point or place of
 BEGfNNING.




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                                                 SCHEDULED
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                                         CONDOMINIUM OWNERSHIP OF
                                     FIFTH AND FIFTY-FIFTH CONDOMINIUM                           .'
                                                DESCRIPTION OF UNITS
                                                                                                ..
                                              [To be inserted prior to recording.]




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                                  CONDOMINIUM BY-LAWS

                                                OF

                         FIFTH AND FIFTY-FIFTH CONDOMINIUM

                                           ARTICLE 1

                                            GENERAL

         1.1     Puroose. The purpose ofthese by·laws (the "Condominium By-Laws") is to set
 forth the rules and procedures concerning the conduct ofthe affairs of Fifth and Fifty-Fifth
 Condominium (the "Condominium"). The Condominium covers the Property consisting of the
Land, approximately 22,554 square foot parcel of land which forms a part of Block 1290 on the
Tax Map ofthe Borough of Manhattan, City, County and State ofNew York and the Building,
including, without limitation, the Units, the Common Elements, and all easements, rights and
appurtenances belonging thereto to the extent set forth in the Declaration of Fifth and Fifty-Fifth
Condominium (such Declaration, as the same may be amended from time to time in accordance
with its terms, is herein called the "Declaration"). The Declaration has been recorded in the New
York County office ofthe Register ofthe City ofNew York (the "Register's Office"), together
with these Condominium By·Laws. These Condominium By-Laws are subject and subordinate
to the Declaration and all terms used herein which are not separately defined herein (or in the
Table of Definitions annexed hereto as Exhibit A and incorporated herein by reference) shal1
have the meanings given to those terms in the Declaration.

         1.2     Applicability of Condominium By·Laws. These Condominium By-Laws are
applicable to the Property and to the use and occupancy thereof. All present and future Unit
Owners, mortgagees, lessees, sublessees and occupants of Units and their respective employees,
invitees and guests, as well as all other persons who may use the facilities located on, or forming
a part of, the Property, are and shall be subject to the Declaration, these Condominium By-Laws
and the Rules and Regulations (as hereinafter defined). The acceptance of a deed or conveyance,
or the succeeding to title to, or the execution of a lease, sublease or license for, or the act of
occupancy of, all or any portion of a Unit shall constitute an agreement that the provisions of the
Declaration, these Condominium By·Laws, and the Rules and Regulations, as the same may be
amended from time to time, are accepted, ratified, and will be complied with.

        1.3     Principal Office of the Condominium. The principal office of the Condominium
shall be located either within the Property or at such other place in the Borough of Manhattan or
in the County of Westchester (New York) as may be designated from time to time by the
Condominium Board (as hereinafter defined).
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                                           ARTICLE2

                          CONDOMINIUM BOARD OF MANAGERS

        2.1     General Description of the Condominium Board.
                                                                                                          ' .·
                2.1.1       As more particularly set forth in Section 2.2, the affairs of the
 Condominium shall be governed by a board of managers ofthe Condominium (the
 "Condominium Board"). Subject to Section 2.3.3 hereof, from and after the First Annual
 Meeting (as hereinafter defined), as provided in Section 3.1, the Condominium Board shall,
 consist of seven persons elected by the Unit Owners.

                2.1.2       Each Board Member, except for the First Board (as hereinafter
defined), as provided in Section 2.3 and except as otherwise provided herein, shall be elected or
designated, as the case may be, at an annual meeting of the Unit Owners and shall serve until the
expiration of their term in office on the third regularly scheduled annual meeting thereafter.            _.
Notwithstanding the expiration of the term of office of a Board Member, such Board Member
shall serve until a successor for such Board Member has been elected or designated, as the case
may be, and qualified.

                 2.1.3       Except for any Board Member elected or designated by the Hotel Unit
 Owner, the Retail Unit Owner, the Suite Sponsor, the Club Sponsor or their respective designees,
 all Board Members must be: (i) individual Unit Owners or Permitted Mortgagees (as hereinafter
 defined) of Units; (ii) individuals constituting a partner, officer, director, member, trustee,
 beneficiary or employee of any partnership, corporation, trust, limited liability company, banking
 association or other entity, as the case may be, constituting a Unit Owner or Permitted
                                                                                                      .·
 Mortgagee (or in the case of the Board Member representing the Club Units, the Manager ofthe
Club Association); (iii) adult family members (as defined in Section 8.7) or spouses or domestic
partners of any of the foregoing individuals; or (iv) individuals designated by a sovereign
government, consulate or other similar entity that is a Unit Owner or a Permitted Mortgagee of a
Unit. Other than Board Members elected or designated by the Hotel Unit Owner, the Retail Unit
Owner, the Suite Sponsor, the Club Sponsor or their respective designees, no Board Member
shall continue to serve after he or she ceases to be qualified as set forth above. As used herein,
the term "Permitted Mortgagee" means the holder of any mortgage ("Permitted Mortgage")
encumbering fee title to a Unit or Units or encumbering all (but not fewer than all) Club Interests
in a Club Unit (or any mortgage of a leasehold encumbering any Commercial Unit) which is
permitted to be placed thereon in accordance with these Condominium By-Laws.

       2.2     Powers and Duties ofthe Condominium Board

                2.2.1       The Condominium Board shall have the powers and duties necessary
for or incidental to the administration of the affairs of the Condominium (except such powers
and duties which by Law, the Declaration or these Condominium By-Laws may not be delegated
to the Condominium Board by the Unit Owners or which are otherwise expressly granted,
reserved or assigned to one or more Unit Owner(s) under the Condominium Documents).                   :        .   .
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                 2.2.2      Subject to the provisions of subsection 2.2.1 and without limiting the
 generality thereof (and in addition to all other powers and duties granted to the Condominium
 Board by Law, the Declaration or these Condominium By-Laws), the Condominiwn Board shall
 be entitled to make determinations with respect to all matters relating to the operation and the
 affairs of the Condominium, including, without limitation, the following:

                 (a)     Operation, care, upkeep and maintenance of; the making of alterations,
 additions, installation and improvements ("Alterations") to; and the making of repairs,
 restorations and replacements ("Repairs") of, the General Common Elements, all in the condition
 and otherwise in such a manner that maintains the Hotel Flag Standards (or, if the Hotel Unit is
 not flagged at such time, then in a manner which is consistent with standards of quality, service,
 image and appearance commensurate with those of the hotel being operated in the Hotel Unit at
 the time in question);

               (b)     The amount of General Common Charges and any assessments.

               (c)     Collection of General Common Charges and any assessments from Unit
Owners.

                (d)     Employment and dismissal of the personnel necessary for the maintenance
and operation of the General Common Elements, and the provision of the Building services
(except to the extent that Hotel employees are providing such services).

               (e)     Adoption of, and amendments and additions to, the Rules and Regulations
(as such term is hereinafter defined).

                (f)    Subject to the provisions of Article 8 hereof, purchasing, leasing and
otherwise acquiring, in the name of the Condominium Board or its designee, on behalf of all Unit
Owners, those Units offered for sale or lease by, or Units surrendered by, the owners of such
Units to the Condominium Board, or those Units with respect to which liens for real estate taxes
are being sold.

                (g)    Purchasing Units at foreclosure or other similar sales (including, without
limitation, in connection with the enforcement of the Condominium Board's lien for unpaid
General Common Charges), in the name of the Condominium Board or its designee, on behalf of
all Unit Owners.

               (h)  Selling, leasing, mortgaging, refinancing and otherwise dealing with (but
not voting the Common Interests appurtenant to) Units acquired by, and subleasing Units leased
by, the Condominium Board or its designee, on behalf of all Unit Owners.

             (i)     Making Alterations to and Repairs of the Property or parts thereof
damaged or destroyed by fire or other casualty or necessitated as a result of condemnation or
eminent domain proceedings, all in accordance with the terms of these Condominium By-Laws.

              (j)     Enforcing obligations of the Unit Owners.


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                  (k)  Levying fines against Unit Owners for violations of the Rules and
 Regulations (which fines shaH constitute General Common Charges payable by the Unit Owners
 against whom they are levied); provided, however, that no fine for any single infraction shall
 exceed $500 (but every day that an infraction continues may be considered a separate infraction
 subject to fine).

                        Maintaining bank accounts on behalf of the Condominium and designating
                      (I)
 the signatories required therefor.

                (m)     Adjusting and settling insurance claims (and executing and delivering
 releases in connection therewith), if the loss is to be adjusted by the Condominium Board, as
 provided in Article 6 hereof.

                  (n)    Borrowing money, at any time, on behalf of the Condominium when
  required in connection with the operation, care, upkeep and maintenance of, or the making of
  Alterations or Repairs to, the General Common Elements; provided, however, that: (A) except
  with respect to borrowing for the purpose of acquiring a residence for any building manager or
 superintendent (which the Condominium Board may do without a Unit Owner vote), the consent
  of at least 50% in Common Interest of all Unit Owners shall be required for any borrowings for
 such purposes; (B) no lien to secure repayment of any sum borrowed may be created on any Unit
 or its appurtenant interest in the Common Elements (except to the extent permitted by Law)               ·. .
 without the prior written consent of the owner of such Unit; and (C) the vote of at least 75% in
 common interest of all Unit Owners shall be required for the borrowing of any sum in excess of
 $1,000,000 in any one fiscal year (regardless ofthe balance of any loans outstanding from
 previous fiscal years) or $5,000,000 in the aggregate for such purposes. In addition to the debt
 described above, the Condominium Board, without the approval of the Unit Owners may, at any
 time, incur, or refinance debt from time to time secured by a lien on any other Unit (or interest in
 a Unit) acquired by the Condominium Board pursuant to the Declaration and/or Condominium
 By-Laws; provided, however, that no such financing or refinancing may be secured by an
 encumbrance or hypothecation of any portion of the Property other than the Unit (or interest)
 purchased or to be purchased together with its appurtenant Common Interest. If any sum
borrowed by the Condominium Board pursuant to the authority contained in this subparagraph
2.2.2(n) is not repaid by the Condominium Board, a Unit Owner who pays to the creditor such
proportion thereof as his or her interest in the Common Elements bears to the interest of all Unit
Owners in the Common Elements shall be entitled to obtain from the creditor a release of any
judgment or other lien which said creditor has filed or has the right to file against such Unit
Owner's Unit, and all loan documentation entered into by or on behalf of the Condominium
Board shall specifically so provide. Pursuant to Section 12.5.4, the dollar amounts set forth in
c~ause (C) of this subsection 2.2.2(n), and all other dollar amounts referenced elsewhere in these
Condominium By-Laws, shall be adjusted to reflect any increase in the cost of living, as
reflected by an increase in the CPI Increase Factor.

                (o)     Organizing corporations, limited liability companies and/or other entities         ..     ·.
to act as designees of the Condominium Board with respect to such matters as the Condominium
Board may determine, including, without limitation, in connection with the acquisition of title to,
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 or the leasing or subleasing of, Units (or interests in Units) acquired or leased by the
 Condominium Board on behalf of the Unit Owners.

                 (p)    Execution, acknowledgment and delivery of, without limitation: (i) any
  consent, agreement, document, covenant, restriction, easement, declaration or other instrument,
  or any amendment thereto, affecting the Property or the Condominium which the Condominium
  Board deems necessary or appropriate to comply with the Laws applicable to the maintenance,
 demolition, construction, Alteration or Repair of the Property or the Condominium; or (ii) any
 consent, agreement, document, covenant, restriction, easement, declaration or other instrument,
 or any amendment thereto, affecting (x) the Property or the Condominium which the
 Condominium Board deems necessary or appropriate, or (y) a Unit, if the owner of such Unit
 requests, or under the Declaration or these Condominium By-Laws is required to request, that the
 Condominium Board take such action, and (except as otherwise provided in the Declaration or
 these Condominium By-Laws) the Condominium Board determines that taking such action is
 appropriate.

                (q)     Execution, acknowledgment and delivery of any documents or other
instruments necessary to commence, pursue, compromise or settle certiorari proceedings to
obtain reduced real estate tax ass"-ssments, or in connection with any real estate tax exemption or
abatement, with respect to: (i) all Units other than the Commercial Units for the benefit and on
behalf of the Unit Owners; and (ii) the Commercial Units, for the benefit of the respective
Owners thereof, but only to the extent requested and authorized to do so, in writing, by the
respective Owners thereof; and provided, in each case, that all such Unit Owners indemnify the
Condominium Board from and against all Claims, costs and expenses (including, without
limitation, reasonable attorneys' fees) resulting from such proceedings.

               (r)     Commencing, prosecuting and settling litigation.

               (s)     Obtaining and reviewing insurance for the Property, including the Units,
pursuant to the provisions of Section 6.4.

                (t)     Imposition, increase, decrease or elimination of move-in fees and charges,
and transfer fees payable to the Condominium Board (or at the Condominium Board's election,
to the Managing Agent and/or the Hotel Operator), in connection with the sale or lease of a Suite
Unit or Club Unit (or any interest therein), provided that no such fees or charges or any other
conditions of transfer or ]ease may be imposed upon Fee Owner, the Hotel Unit Owner, the
Retail Unit Owner, the Suite Sponsor, the Club Sponsor or their respective affiliates or
designee(s) or any Units bought, sold or leased by the Condominium Board.

                (u)     Establishing, changing and otherwise making determinations with respect
to reserves, including, without limitation, a general operating reserve or a reserve for working
capital or for Repairs or Alterations with respect to the General Common Elements and/or in
respect of the obligations set forth in these Condominium By-Laws concerning Allocable Hotel
Expenses (hereinafter defined).




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                      2.2.3     Except as otherwise provided in these Condominium By-Laws or in
      the Declaration, each Commercial Unit Owner shall be entitled to make determinations with
      respect to the following matters:

                  (a)      Operation, care, upkeep, maintenance, Repairs of and Alterations to its
      Commercial Unit and, as applicable, its appurtenant Limited Common Elements.

                    (b)     Employment and dismissal of personnel necessary for the maintenance
     and operation of its Commercial Unit and, as applicable, its appurtenant Limited Common
     Elements.

                     (c)    Leasing or granting consent with respect to the sublease of all or any
     portion of its Commercial Unit, or the use thereof by persons or for purposes otherwise permitted
     and the granting of other consents as set forth in the Declaration and these Condominium By-
     Laws.

                   (d)    Selling, leasing, mortgaging and otherwise dealing with all or any portion
     of its Commercial Unit.

                    (e)     Making Repairs and Alterations to its Commercial Unit and, as applicable,
     its appurtenant Limited Common Elements, in accordance with the applicable provisions of these
     Condominium By-Laws; and provided, in each instance, such Repairs and Alterations comply
     with Law and commercially reasonable measures are taken to minimize disruption to the other
     Unit Owners and any other portions of the Building (and provided, in all events, that any Repair
     or Alteration of the Retail Unit which would adversely affect the Hotel Unit or the Hotel Limited
     Common Elements or the operation thereof shall be subject to the prior reasonable approval of
     the Hotel Unit Owner);

                    (f)     Adjusting and settling insurance c1aims (and executing and delivering
     releases in connection therewith) if the loss involves only its Commercial Unit or, as applicable,
     its appurtenant Limited Common Elements, as set forth in Section 6.4.

                    (g)     Borrowing money when required in connection with the operation, care,
     upkeep and maintenance of, or the making of Repairs and/or Alterations to, its Commercial Unit
    and, as applicable, its appurtenant Limited Common Elements, or otherwise in connection with
    any permitted action or activity of such Commercial Unit Owner; provided, however; that (i) no
    lien to secure repayment of any sum borrowed may be created on any other Unit or its
    appurtenant interests in the Common Elements without the consent of the owner of such other
    Unit (except in respect of any unpaid Allocable Hotel Expenses); and (ii) no Unit Owner other
    than such Commercial Unit Owner will be liable for repayment of any portion of any such loan,
    unless such other Unit Owner otherwise agrees in writing (and except in respect of any
    borrowings in respect of Allocable Hotel Expenses).

                  (h)     Subject to the provisions of Articles 9, 10 and 19 of the Declaration,
    execution, acknowledgement and delivery of: (i) any declaration or other instrument affecting its
    Commercial Unit which the Unit Owner thereof deems necessary or appropriate to comply with
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    any Law applicable to the maintenance, demolition, construction, Alteration or Repair of its

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 Commercial Unit, or (ii) any consent, covenant, restriction, easement or declaration affecting its
 Commercial Unit which the Unit Owner there deems necessary or appropriate.

                (i)     Execution, acknowledgement and delivery of any documents or other
 instruments necessary to commence, pursue, compromise or settle certiorari proceedings to
 obtain a reduced real estate tax assessment solely with respect to its Commercial Unit.

                2.2.4      Any action required or permitted to be taken pursuant to the provisions
 of these Condominium By-Laws or the Declaration by the Condominium Board shall be done or
performed by the Condominium Board or shall be done on its behalf and at its direction by the
agents, employees or designees of the Condominium Board, or, as provided herein and in the
Declaration, by one or more Unit Owners (or its/their designee(s)), and the Condominium Board
may employ one or more managing agents and/or managers, which may, but need not include,
the Hotel Operator (individualiy and/or collectively, the "Managing Agent"), at a compensation
established by the Condominium Board, to perform such duties and services as the
Condominium Board shall authorize or which are otherwise authorized pursuant to the terms of
the Condominium Documents. The Condominium Board may delegate to such Managing Agent
any powers granted to the Condominium Board by these Condominium By-Laws, except the
powers set forth in subparagraphs 2.2.2(b), (e), (f), (g), (h), (k), and (m) through (u).

        2.3    Number and Terms of Office of Members of the Condominium Board.

                2.3.1        Subject to Section 2.3.3, the Condominium Board shall consist of
 seven persons (each, a "Board Member"): (i) five members (the "Commercial Board Members")
 designated by the Commercial Unit Owners (ofwhich, four (4) shall be designated by the Hotel
 Unit Owner and one (1) shall be designated by the Retail Unit Owner); (ii) one meinber (the
 "Suite Board Member'') elected by the Suite Unit Owners (including the Suite Sponsor); and (iii)
 one member (the "Club Board Member") elected by the Club Unit Owners (including the Club
 Sponsor). Until the First Annual Meeting held by the Unit Owners pursuant to the terms of
 Section 3.1 hereof, notwithstanding the foregoing, the Suite Sponsor shall designate the Suite
 Board Member and the Club Sponsor shall designated the Club Board Member. The
 designations of the initial Board Members (the "First Board") shall be made within thirty (30)
days following the recording of the DecJaration. Prior to the First Annual Meeting, the terms of
each Board Member shall expire annually and, subject to the other provisions of this Section, the
aforesaid parties shall have the right to designate the replacement for each such member, even
though such replacement may be the same person. In accordance with the provisions of and
within the time periods set forth in Section 3.1,-the Condominium Board shall cause the
President of the Condominium to call the First Annual Meeting. The term of office of the
members of the First Board, as the same may theretofore have been extended, shall expire when
the seven members to be elected and/or designated at First Annual Meeting are so elected or
designated, as the case may be, and qualified.

                2.3.2      The term of office of each of the Members of the Condominium Board
will one year, except as otherwise provided in the last sentence of subsection 2.3.1 above. At
each annual meeting of the Unit Owners, upon the expiration of the term of office of each Board
Member, each such member's successor will be elected (or designated, as the case may be) to


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             serve for a term of one year. Notwithstanding the expiration of the term of office of a Board
             Member or anything contained herein to the contrary, each Board Member shall serve until his or
             her successor shall be elected and qualified. There shall be no limit on the number of terms of
             office, successive or otherwise, that a Board Member (including any member designated by the
             Commercial Unit Owners, the Suite Sponsor, the Club Sponsor or their respective designee(s))
             may serve until his or her successor shall be elected and qualified.                                       ~-




                             2.3.3       At any time that both the Hotel Unit and the Retail Unit are owned by
             the same Person, for administrative convenience, at the election of such Person owning both such
             Units (until the election of such person to the contrary), notwithstanding any other reference
             herein to a seven-Member board, the Condominium Board shall be comprised of only five
             members: (i) three Commercial Members (designated by the owner ofboth Commercial Units);
             (ii) one Suite Board Member; and (iii) one Club Board Member. The Condominium Board may
             not be expanded beyond seven members without the prior consent of the Hotel Unit Owner.

                    2.4        Election of Board Members; Rights of Sponsor.

                            2.4.1     Subject to the terms of subsections 2.4.3 and 2.4.4, the election of each
            of the Suite Board Member and the Club Board Member shall be determined by plurality ofthe
            votes cast by the Suite Unit Owners and the Club Unit Owners, respectively, who are present (in
            person or by proxy) and voting at a meeting at which a quorum of all Unit Owners is present or
            not required.

                            2.4.2       When voting for· Board Members, the voting shall be by baHot and
            each ballot shall state the name of the Unit Owner voting, the Units owned by such Unit Owner
            and the percentage of Common Interest attributable to each Unit owned by such Unit Owner, and
            in addition, the name of the proxy if such ballot is cast by a proxy. Nothing contained in these
            Condominium By-Laws shall be deemed to permit cumulative voting.

                            2.4.3       Notwithstanding any other provision of this Section 2.4 or of these
             Condominium By-Laws or otherwise to ¢e contrary, at the First Annual Meeting and at all times
            theretofore and thereafter, each ofthe Commercial Unit Owners, the Suite Sponsor, the Club
            Sponsor and their respective designees, shall be able to vote in accordance with its/their
            ownership of Units and thus may be able to elect or designate Board Members by virtue of
            its/their ownership of Units. In addition, prior to the First Annual Meeting, the Suite Sponsor (or
            its designee as the owner of the Unsold Suite Units) shall designate the Suite Board Member and
            the Club Sponsor (or its designee as the owner of the Unsold Club Units) shall designate the
            Club Board Member, each of whom may be a person related to or affiliated with such                                ·.
            designating party. From and after the First Annual Meeting, the Suite Board Member shall be
            elected by the Suite Unit Owners (including the Suite Sponsor or its designee as the owner of               ..•.
            Unsold Suite Units) and the Club Board Member shall be elected by the Club Unit Owners                .. ·...-.
            (including the Club Sponsor or its designee as the owner of Unsold Club Units), and each such
            Board Member shall be a person not related to or affiliated with the applicable Sponsor.                '.: ·' :




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         2.5    Resignation and Removal.

                2.5.1      Any Board Member may resign at any time by written notice given in
 accordance with the terms of Section 5.1 of these Condominium By-Laws to the President or
 Secretary of the Condominium. Any such resignation shall take effect at the time specified in
 such notice and, unless specifically requested by the resigning member, acceptance of such
 resignation shaH not be necessary for the effectiveness thereof.

                2.5.2      Subject to the provisions of Sections 2.3 and 2.4, and except as
provided in the following sentence, any member elected to the Condominium Board pursuant to
the terms of Sections 2.4 or 2.6 hereof, respectively, may be removed from office, with or
without cause, by a Majority of Unit Owners (as hereinafter defined). Any member who was
designated (as opposed to elected) pursuant to the terms of Sections 2.4 or 2.6, may be removed
from office without cause, only by the party entitled to make such designation. In the event of
any removal described in the previous sentence, whether with or without cause, the party which
designated such Board Member shall have the sole right to designate the replacement of such
member. Any elected Condominium Board Member whose removal for cause has been
proposed shall be given an opportunity to be heard at the meeting of Unit Owners at which such
removal is to be considered.

         2.6     Vacancies on Board. Subject to the provisions of Sections 2.3, 2.4 and 2.5, any
 vacancy on the Condominium Board for whatever reason shalJ be filled by the Board Members
then in office, at a special meeting of the Condominium Board held for that purpose promptly
after the occurrence of any such vacancy even though the members present at such meeting may
constitute less than a quorum (provided that at least four of the Commercial Board Members are
present), and any person so elected shall be a Board Member until the next annual meeting of
Unit Owners when a successor shall be elected for the remainder of the term ofthe member
creating such vacancy. However, any vacancy on the Condominium Board created by the
resignation, removal or any other reason of any Condominium Board Member designated (as
opposed to being elected) shall be filled only by the party (or Unit Owner) entitled pursuant to
these Condominium By-Laws to make such designation.

        2. 7     Organizational Meetings of Board. The first meeting of the Condominium Board
following each annual meeting of Unit Owners shall be held within ninety (90) days after such
annual meeting at such time and place in the Borough of Manhattan as shall be fixed by a
majority of the Members thereof, and no notice shall be necessary to the Board Members in
order to legally constitute such meeting, provided that a majority of the Board Members shall be
present thereat.

         2.8    Regular Meetings ofBoard. Regular meetings of the Condominium Board may
be held at such time and place in the Borough of Manhattan as shall be determined from time to
time by a majority of the members thereof, provided that at least two such meetings shall be held
during each fiscal year of the Condominium. Notice of regular meetings shall be given to each
member thereof, by personal delivery, nationally recognized overnight courier or telecopy, at
least five business days prior to the date set for such meeting.



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              2.9      Special Meetings of Board. Special meetings ofthe Condominium Board may be
      called by the President or Vice President ofthe Condominium by giving at least two business
      days' prior notice to each Board Member, by personal delivery, nationally recognized overnight
      courier or telecopy, which notice shall state the time, place (in the Borough of Manhattan or in
      the County of Westchester (New York)) and purpose ofthe meeting. In addition, the President
      shall call a special meeting upon the written request of a majority of the Condominium Board.

              2.10 Waiver of Notice. Any Board Member may at any time waive notice of any
      board meeting in writing and such waiver shall be deemed equivalent to the giving of such
      notice. Attendance by a Board Member at any meeting thereof shall constitute a waiver by such
      member of notice ofthe time and place thereof. If all the members are present at any meeting of
      the Condominium Board, no notice shall be required and any business may be transacted at such
      meeting.

              2.11   Determinations by Board; Quorums.

                     2. I 1.1    (a) Except as otherwise set forth in subsections 2.4.4., 2.6 and 2.11.3,
     all determinations of the Condominium Board shall be made at a meeting ofthe Condominium
     Board at which a quorum thereof is present. At any Conqominium Board meeting, the presence
     of at least a majority (in Common Interest as described in "(b)" below) of the members thereof
     shall constitute a quorum except as may otherwise be provided herein, and, subject to terms of
     subparagraph (b) of this subsection 2.11.1, the votes of a majority of such members present shall
     constitute the decision of the Condominium Board.

                      (b)    All votes by Board Members shall be cast in accordance with the Common
      Interest represented by such member rather than on a per capita basis. The Common Interest
      represented by the Suite Board Member shall be the aggregate Common Interest of all the Suite
      Units; the Common Interest represented by the Club Board Member shall be the aggregate                •
      Common Interest of all the Club Units; the Common Interest represented by the Commercial
     Board Members designated by the Hotel Unit Owner shall be the aggregate Common Interest of
     the Hotel Unit (with each such Commercial Board Member designated by the Hotel Unit Owner
     having an equally weighted share ofthe aggregate Common Interest of the Hotel Unit allocated
     in accordance with the number of Commercial Board Members designated by the Hotel Unit
     Owner voting in such instance); and the Common Interest represented by the Commercial Board
     Member designated by the Retail Unit Owner shall be the Common Interest of the Retail Unit.
     All votes and determinations of the Condominium Board shall be in accordance with the
     foregoing methodology and all references in the Declaration and Condominium By-Laws and
     otherwise to a "majority" or other fraction or percentage vote of the Condominium Board shall
     refer to such a vote determined on a Common Interest basis.

                    2.11.2      If at any Condominium Board meeting there is less than a quorum
     present, a majority of those Board Members present may adjourn the meeting from time to time
     until a quorum exists or may reconvene the meeting to a time (specified on at least three business
     days' notice, by personal delivery, nationally recognized overnight courier or telecopy, to the
     absent members) when no quorum requirement shall apply. At any such adjourned meeting at
     which a quorum is present, any business which might have been transacted at the meeting
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 originally called may be transacted without further notice, provided that at least a majority of the
 Board Members are present.

                 2.11.3     Members ofthe Condominium Board may participate in a meeting
 thereof by means of a conference telephone call or similar communications equipment by means
 of which all persons participating in such meeting can hear each other and such participation
 shall constitute presence at such meeting. Notwithstanding anything to the contrary contained
 herein, action permitted or required to be taken at a meeting of the Condominium Board may be
 taken without a meeting if all Board Members consent thereto in writing.

         2.12   Compensation. No Board Member shall receive any compensation for acting as
 such.

         2.13   Liability of Board and Unit Owner~.

                   2.13.1      To the extent permitted by Law, no Board Member shall have any
 personal liability with respect to any contract, act or omission of the Condominium Board or of
 the Managing Agent, building engineer or superintendent in connection with the affairs or
 operation of the Condominium (except in its or their capacities as Unit Owners, as applicable),
 and the liability of any Unit Owner with respect thereto shall be limited as hereinafter set forth.
 Every contract made by the Condominium Board or by the Managing Agent shall state that it is
 made by the Condominium Board or the Managing Agent only as agent for all Unit Owners, and
 that the Board Members or the Managing Agent shall have no personal liability thereon (except
 in its or their capacities as Unit Owners, as applicable) and may also state the applicable
 limitations of liability of the Unit Owners provided for in the next sentence; however, the
absence of such statement or statements in any such contract shall not be deemed to imply any
personal liability on the part of the Condominium Board or the Managing Agent or any greater
liability on the part of any Unit Owner than as provided in the next sentence. The liability of any
Unit Owner for any contract, act or omission with respect to the Condominium shall be limited
to such proportionate share of the total liability as the Common Interest of such Unit Owner
bears to the aggregate Common Interests of all Unit Owners; and in each case, to the extent
permitted by Law, the liability of any Unit Owner shall be limited to such Unit Owner's interest
in its Unit and its appurtenant Common Interest, so that such Unit Owner shall have no personal
liability for any such contract, act or omission.

                 2.13.2     Nothing in the preceding subsection shaJI limit a Unit Owner's liability
for the payment of General Common Charges. To the extent permitted by Law, Board Members
shall have no liability to Unit Owners except that a Board Member shall be liable for its or his or
her own bad faith or willful misconduct. All Unit Owners shall severally, to the extent of their
respective interests in their Units and their appurtenant Common Interests, indemnify each Board
Member against any liability or claim except those arising out of such Board Member's own bad
faith or willful misconduct. The Condominium Board may contract or effect any other
transaction with any Board Member, any Unit Owner, the Hotel Operator, Fee Owner, the Suite
Sponsor, the Club Sponsor or any affiliate of any of the foregoing without incurring any liability
for self-dealing, except in cases of bad faith or willful misconduct.



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                  2.13.3     None of the Condominium Board, the Board Members, the Hotel Unit
  Owner, Hotel Operator, Managing Agent, Fee Owner, the Suite Sponsor, the Club Sponsor, or
 any affiliate thereof, shaH be liable for either:. (i) any failure or interruption of any utility or other                      ,.
 services to be provided or obtained by, or on behalf of, the Condominium Board or to be paid for
 as a Common Expense except when any such failure or interruption is caused by the acts of bad
 faith or willful misconduct of the Condominium Board or such member thereof or other party, as
 the case may be; or (ii) any injury, loss or damage to any individual or property, occurring in or
 upon either a Unit or any Common Element, which is either: (a) caused by the elements, by any
 Unit Owner or by any other individual, (b) resulting from electricity, or from water, snow or ice
 that may leak or flow from a Unit or any portion of any Common Element, or (c) arising out of
 theft or otherwise; except in each case when caused by the acts of bad faith or willful misconduct
 of the Condominium Board or such member thereof or such other party.

        2.14 Fidelity Bonds. The Condominium Board shall obtain fidelity bonds, in amounts                                  .·
 deemed appropriate by it, for all of its members, officers and employees and for the Managing
 Agent and the premiums on such bonds shall constitute General Common Expenses.

       2.15 Committees. The Condominium Board may, subject to such limitations and
exceptions as the Condominium Board may prescribe, appoint such committees as the
Condominium Board may deem appropriate, each to consist of two or more Board Members.
Each such committee, to the extent provided in the resolution which creates it, shall have and
may exercise all the powers designated to it by the Condominium Board during the intervals
between the meetings of the Condominium Board insofar as may be permitted by Law.

        2. 16 Status of Board. In addition to the status conferred upon the Condominium Board
under or pursuant to the provisions of the New York Condominium Act, the Condominium
Board shall, to the extent permitted by Law, be deemed to constitute a separate unincorporated
association for all purposes under and pursuant to the provisions of the General Associations
Law ofthe State ofNew York. In the event of the incorporation or organization of the
Condominium Board pursuant to the provisions of Section 2.17, the provisions ofthis Section
2.16 shall no longer be applicable to the Condominium Board.

        2.17 Incorporation and Organization of Board. To the extent and in the manner
provided in the New York Condominium Act, the Condominium Board may, by action of the
Condominium Board as provided in this Article 2, be organized as a limited liability company or
incorporated under the applicable statutes ofthe State of New York. In the event that the
Condominium Board so organizes or incorporates, it shall have, to the extent permitted by Law,
the status conferred upon it under such statutes in addition to the status conferred upon the
Condominium Board under or pursuant to the provisions of the New York Condominium Act.
The certificate of incorporation and by-laws of any such resulting corporation or the articles of                       •
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organization and operating agreement of such resulting limited liability company, as the case
may be, shall conform as closely as practicable to the provisions of the Declaration and these
Condominium By-Laws; and the provisions of the Declaration and these Condominium By-Laws                                    .. =.. ~.


shall control in the event of any inconsistency or conflict between the provisions thereof and the
provisions of such certificate of incorporation and by-laws or articles of organization and
operating agreement.                                                                                                             ...   -. .


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          2.18 Board as Agent ofUnit Owners. In exercising its powers and performing its
 duties under the Declaration and these Condominium By-Laws, the Condominium Board shall
 act as, and shall be, the agent ofthe Unit Owners, subject to and in accordance with the
 provisions of the Declaration and these Condominium By-Laws.

          2.19 Prohibited Transactions. To the extent permitted by Law, no contract or other
 transaction between the Condominium Board and either: (i) any of its members; or (ii) any
 corporation, partnership, fiduciary, firm, limited liability company, association or other entity in
 which any of the Board Members are officers, directors, trustees, shareholders, employees,
 partners, fiduciaries, beneficiaries, members or principals, or are otherwise interested, pecuniary
 or otherwise, shall be deemed either void or voidable because either: (a) any such Board Member
 was present at the meeting or meetings of the Condominium Board during which such contract
 or transaction was discussed, authorized, approved or ratified, or (b) the vote of any such Board
Member was counted for such purpose; provided, however, that either: (1) the fact thereof is
disciosed to, or known by, the Condominium Board or a majority of the Board Members and
noted in the minutes thereof, and the Condominium Board shall authorize, approve or ratifY such
contract or transaction in good faith by a vote of a majority of the entire Board; or (2) the fact
thereof is disclosed to, or known by, a majority in Common Interest of Unit Owners and a
majority in Common Interest of Unit Owners, present at a duly constituted meeting, shall in good
faith authorize, approve or ratify such contract or transaction; and (3) the contract or transaction
is commercially reasonable to the Condominium Board at the time the same is authorized,
approved, ratified, executed or otherwise consummated. Notwithstanding the foregoing, the
Condominium Board may contract and transact business with the Hotel Unit Owner, the Hotel
Operator, Fee Owner, the Suite Sponsor, the Club Sponsor and/or any of their respective
affiliates.

        2.20 Principal Office of Board. The principal office of the Condominium Board shall
be located either within the Property or at such other place in the Borough of Manhattan or in the
County of Westchester (New York), as may be designated from time to time by the
Condominium Board.

                                          ARTICLE3

                                        UNIT OWNERS

        3.1      Annual Meetings. The first annual meeting ofthe Unit Owners (the "First Annual
Meeting") shall be held not later than 30 days following the earlier to occur of: (a) the second
anniversary of the First Suite Closing; or (b) the second anniversary of the First Club Closing.
At such meeting, a new Condominium Board shall be elected and/or designated (as provided in
Sections 2.3 and 2.4) consisting of seven persons (subject to Section 2.3.3 hereof) and the
incumbent Condominium Board shall resign. Thereafter, annual meetings of Unit Owners shall
be held within approximately four weeks after the anniversary of such First Annual Meeting in
each succeeding year on a date to be set by the Condominium Board. At such meetings, the Unit
Owners shall elect, or designate, as the case may be, successors to the Board Members whose
terms of office are due to expire on or about the day of such meeting or have already expired and
there shall also be transacted such other business as may properly come before such meeting.


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